     Case 2:20-cv-01703-SCR      Document 189-7     Filed 04/18/25    Page 1 of 83


 1 JASON R. FLANDERS (Bar No. 238007)
   Email: jrf@atalawgroup.com
 2 ERICA A. MAHARG (Bar No. 279396)

 3 Email: eam@atalawgroup.com
   J. THOMAS BRETT (Bar No. 315820)
 4 Email: jtb@atalawgroup.com
   AQUA TERRA AERIS LAW GROUP
 5 8 Rio Vista Ave.
   Oakland, CA 94611
 6 Telephone: (916) 202-3018

 7
   DREVET HUNT, SBN 240487
 8 Email: dhunt@cacoastkeeper.org
   CALIFORNIA COASTKEEPER ALLIANCE
 9 1100 11th Street, 3rd Floor
   Sacramento, CA 95814
10
   Telephone: (415) 606-0864
11
   Attorneys for Plaintiff
12 CALIFORNIA COASTKEEPER ALLIANCE

13

14                           UNITED STATES DISTRICT COURT
15                          EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,               Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                   DECLARATION OF ESMERALDA
19 vs.                                            BUSTOS IN SUPPORT OF PLAINTIFF'S
                                                  MOTION FOR INTERIM AWARD OF
20 COSUMNES CORPORATION dba                       FEES AND COSTS
   MURIETA EQUESTRIAN CENTER, a
21
   California Corporation; CAROL                  Hearing Date: June 12, 2025
22 ANDERSON WARD, an individual;                  Time: 10:00 AM
   CAROL ANDERSON WARD, as trustee                Courtroom: 27, 8th Floor
23 of the Carol Anderson Ward Trust dated         Hon. Sean Riordan
   February 6, 2002,
24
                             Defendants.
25

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28
                                            1
      DECLARATION OF ESMERALDA BUSTOS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES
                                        AND COSTS
     Case 2:20-cv-01703-SCR            Document 189-7        Filed 04/18/25      Page 2 of 83


 1          I, Esmeralda Bustos, declare:

 2          1.       I am more than eighteen years old and am competent to testify as to the matters set

 3   forth herein.

 4          2.       I make this Declaration in support of Plaintiffs’ Motion for Attorneys’ Fees and

 5   Costs, filed herewith, based upon my personal knowledge, and unless otherwise stated, I am

 6   competent to testify to the matters set forth herein.

 7      I. BIOGRAPHICAL INFORMATION

 8          3.       I am a Senior Paralegal with Aqua Terra Aeris (“ATA”) Law Group.

 9          4.       I am a graduate of the University of California, Berkeley. In 2006, I completed my

10   paralegal studies at De Anza College in Cupertino, California.

11          5.       I have been a paralegal with ATA for more than six years. Prior to joining ATA, I

12   worked in immigration law. Most recently, as a Program Fellow for Stanford Law School’s

13   Immigrants’ Rights Clinic and prior to that, as a paralegal in private practice and non-profits.

14          6.       I have over 17 years of paralegal experience and my rate at $218 per hour is an

15   appropriate 2025 rate to claim in the Eastern District of California for a paralegal of my level of

16   experience. This rate is commensurate if not considerably lower than rates found reasonable in

17   Eastern District of California attorneys fee award decisions for paralegals with my level of

18   experience working on cases involving complex civil litigation.

19          7.       My 2025 rate for paralegal work in the Eastern District of California is $218 per

20   hour. Given my experience, skill, and reputation, my rates requested herein are reasonable.

21      II. TASKS PERFORMED AND HOURS INCURRED IN THIS CASE

22          8.       The following is a detailed but non-exhaustive accounting of my participation in this

23   matter. For a complete accounting of the time I spent on this matter, please review my billing

24   entries filed concurrently herewith.

25          9.       I have been the primary paralegal for ATA working on this case. Accordingly, I have

26   prepared tables of contents and authorities for most of the briefs prepared by ATA attorneys in this

27

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                                            2
      DECLARATION OF ESMERALDA BUSTOS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES
                                        AND COSTS
     Case 2:20-cv-01703-SCR            Document 189-7         Filed 04/18/25      Page 3 of 83


 1   matter, and I filed those briefs with the court and oversaw their service. I likewise cite-checked

 2   most, if not all, of the briefs prepared by ATA attorneys in this matter.

 3          10.    I also tracked the docket for this matter, downloaded docket entries, uploaded them

 4   to ATA’s shared drive, and then notified ATA attorneys of relevant docket filings. And I tracked

 5   the deadlines relevant in this matter and set internal, in-firm calendar notifications for those

 6   deadlines.

 7          11.    I also served most, if not all, of the discovery requests and discovery productions

 8   provided by Plaintiff’s counsel in this matter.

 9          12.    And I helped to manage the saving, uploading, storing, organizing, and labelling of

10   discovery-related documents in this matter.

11          13.    Attached hereto as Exhibit 1 is a true and correct copy of my chronological time

12   records that document the time that I spent on this case. I personally and contemporaneously kept

13   these records using computer timekeeping software documenting the hours I worked on this case.

14

15          I declare, under penalty of perjury under the laws of the United States that the foregoing is

16 true and correct. Executed on the 24th day of March 2025 in Oakland, California.

17

18
                                                                   Esmeralda Bustos
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                                            3
      DECLARATION OF ESMERALDA BUSTOS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES
                                        AND COSTS
                                        Case 2:20-cv-01703-SCR
                                                                                                           EXHIBIT 1 Filed 04/18/25
                                                                                                      Document 189-7                                                                Page 4 of 83
Date      Client   Matter     Staff              Description                                                                      Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Format Public Records Act request; print and mail same.

                   Murieta
                   Equestrian
   1/7/2020 CCKA   Center     Esmeralda Bustos                                                                                            0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Format and edit notice letter; email to J. Flanders for review; begin
                                                 preparing certified mail envelopes.
                   Murieta
                   Equestrian
  6/17/2020 CCKA   Center     Esmeralda Bustos                                                                                            0.7    $218.00           $152.60                                    $0.00                                     0

                                                 Search weather underground and National Oceanic and Atmospheric
                                                 Administration websites for rain events near Rancho Murieta; emails with
                   Murieta                       J. Flanders re: drafting of rain chart; telephone call with A. Barnes re:
                   Equestrian                    same.
  6/18/2020 CCKA   Center     Esmeralda Bustos                                                                                            1.1    $218.00           $239.80                                    $0.00                                     0

                                                 Finalized notice letter and attachment for mailing; print service copies
                                                 and prepare mailing envelopes.
                   Murieta
                   Equestrian
  6/22/2020 CCKA   Center     Esmeralda Bustos                                                                                            0.9    $218.00           $196.20                                    $0.00                                     0

                                                 Finalize complaint and prepare accompanying exhibit; review ECF case
                                                 initiating instructions for Eastern District of California; file complaint and
                   Murieta                       pay filing fee.
                   Equestrian
  8/25/2020 CCKA   Center     Esmeralda Bustos                                                                                            0.9    $218.00           $196.20                                    $0.00                                     0

                                                 Edit complaint, removing co-counsel information; mail Eastern District of
                                                 California clerk copy of requested revised complaint.
                   Murieta
                   Equestrian
  8/26/2020 CCKA   Center     Esmeralda Bustos                                                                                            0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Download and save summons, initial pretrial scheduling order, and
                                                 magistrate judge related entries.
                   Murieta
                   Equestrian
  9/15/2020 CCKA   Center     Esmeralda Bustos                                                                                            0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Calculate and calendar first day to file Resource Conservation and
                                                 Recovery Act complaint.
                   Murieta
                   Equestrian
  9/21/2020 CCKA   Center     Esmeralda Bustos                                                                                            0.2    $218.00            $43.60                                    $0.00                                     0

                                                 File First Amended Complaint via Eastern District of California ECF;
                                                 download remaining docket record; submit service of process order to
                   Murieta                       River City for summons, complaint, First Amended Complaint, and all
                   Equestrian                    case initiating documents.
  10/1/2020 CCKA   Center     Esmeralda Bustos                                                                                            0.6    $218.00           $130.80                                    $0.00                                     0

                                                 Edit First Amended Complaint and incorporate exhibit.

                   Murieta
                   Equestrian
  10/1/2020 CCKA   Center     Esmeralda Bustos                                                                                            0.4    $218.00            $87.20                                    $0.00                                     0




                                                                                                                Page 1 of 80
                                        Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                              Page 5 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Complete consent to magistrate judge jurisdiction; file completed from
                                                 via ECF with Eastern District of California; resend service of summons
                   Murieta                       order to River City with updated documents.
                   Equestrian
  10/1/2020 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20                                    $0.00                                     0

                                                 File Proof of Service of summons with Eastern District of California.

                   Murieta
                   Equestrian
  10/7/2020 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Calendar answer deadline.

                   Murieta
                   Equestrian
  10/9/2020 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone call with J. Flanders re: formatting and service of letter.

                   Murieta
                   Equestrian
 10/29/2020 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft Proof of Service; download case docket; email service copies to J.
                                                 Sullivan.
                   Murieta
                   Equestrian
  11/5/2020 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Research Federal Rule of Civil Procedure regarding timing of motion to
                                                 strike; email J. Flanders re: same; calculate and calendar filing deadline
                   Murieta                       re: same.
                   Equestrian
 11/24/2020 CCKA   Center     Esmeralda Bustos                                                                                        0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Incorporate J. Flanders edits to meet and confer letter. Finalize and
                                                 email to opposing counsel.
                   Murieta
                   Equestrian
  12/2/2020 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Format meet and confer letter onto letterhead.

                   Murieta
                   Equestrian
  12/2/2020 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft stipulation and proposed order.

                   Murieta
                   Equestrian
 12/14/2020 CCKA   Center     Esmeralda Bustos                                                                                         1     $218.00           $218.00                                    $0.00                                     0

                                                 Edit stipulation and proposed order; email updated versions to J.
                                                 Flanders for review.
                   Murieta
                   Equestrian
 12/17/2020 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20                                    $0.00                                     0




                                                                                                              Page 2 of 80
                                          Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                     Document 189-7                                                               Page 6 of 83
Date      Client   Matter      Staff              Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                  Telephone call with J. Flanders re: finalizing stip and order re: Motion to
                                                  Strike.
                   Murieta
                   Equestrian
 12/17/2020 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                               Review local rules re: multiple signatures of counsel on document.
                                               Emails with J. Flanders re: same. Edit stip and add statement to stip per
                   Murieta                     LR 131(e); finalize proposed order and stip for filing; E-file both with
                   Equestrian                  Eastern District of California; email native version of proposed order to
 12/17/2020 CCKA   Center     Esmeralda Bustos Judge Nunley.                                                                            0.7    $218.00           $152.60                                    $0.00                                     0

                                                  Download orders and calendar order deadlines.

                   Murieta
                   Equestrian
 12/18/2020 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                  Upload defendants initial disclosures.

                   Murieta
                   Equestrian
  1/14/2021 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                  Finalize draft joint 26f report and Case Management Statement; file via
                                                  ECF with Eastern District of California.
                   Murieta
                   Equestrian
  1/29/2021 CCKA   Center     Esmeralda Bustos                                                                                          0.7    $218.00           $152.60                                    $0.00                                     0

                                                  Finalize inspection demand and draft Proof of Service.

                   Murieta
                   Equestrian
  1/29/2021 CCKA   Center     Esmeralda Bustos                                                                                          0.5    $218.00           $109.00                                    $0.00                                     0

                                                  Email opposing counsel inspection demand and proof of service.

                   Murieta
                   Equestrian
  1/29/2021 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                  Draft initial disclosures pleading.

                   Murieta
                   Equestrian
   2/4/2021 CCKA   Center     Esmeralda Bustos                                                                                          0.3    $218.00            $65.40                                    $0.00                                     0

                                                  Calendar inspection request deadline, initial disclosures, and deadline to
                                                  respond to Defendants request for production of documents.
                   Murieta
                   Equestrian
   2/8/2021 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00            $43.60                                    $0.00                                     0

                                                  Format and add bates numbers to initial disclosures; create bates
                                                  number log; draft Proof of Service.
                   Murieta
                   Equestrian
  2/11/2021 CCKA   Center     Esmeralda Bustos                                                                                          1.8    $218.00           $392.40                                    $0.00                                     0




                                                                                                               Page 3 of 80
                                        Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                     Document 189-7                                                             Page 7 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft email with initial disclosures and SharePoint link to opposing
                                                 counsel.
                   Murieta
                   Equestrian
  2/11/2021 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Emails and telephone calls with C. Hudak re: initial disclosure
                                                 documents.
                   Murieta
                   Equestrian
  2/11/2021 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save order setting status conference. Calendar order
                                                 deadlines.
                   Murieta
                   Equestrian
  2/26/2021 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Call with J. Flanders re: draft stipulation and joint statement.

                   Murieta
                   Equestrian
   3/3/2021 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft stipulation re: site inspection; email to J. Flanders for review.

                   Murieta
                   Equestrian
   3/3/2021 CCKA   Center     Esmeralda Bustos                                                                                        0.8    $218.00           $174.40                                    $0.00                                     0

                                                 Add edits to draft stipulation.

                   Murieta
                   Equestrian
   3/3/2021 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Convert emails to pdf.; add bates number to final Requests for
                                                 Production documents; draft Proof of Service; email all to J. Flanders for
                   Murieta                       review.
                   Equestrian
   3/8/2021 CCKA   Center     Esmeralda Bustos                                                                                        1.8    $218.00           $392.40                                    $0.00                                     0

                                                 Update Proof of Service and create shareable link to Requests for
                                                 Production responses; email opposing counsel same.
                   Murieta
                   Equestrian
   3/8/2021 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Draft status report template.

                   Murieta
                   Equestrian
  3/15/2021 CCKA   Center     Esmeralda Bustos                                                                                        0.9    $218.00           $196.20                                    $0.00                                     0

                                                 Edit and format requests for production and interrogatories for service.

                   Murieta
                   Equestrian
  3/15/2021 CCKA   Center     Esmeralda Bustos                                                                                        0.5    $218.00           $109.00                                    $0.00                                     0




                                                                                                                Page 4 of 80
                                        Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                         Page 8 of 83
Date      Client   Matter     Staff              Description                                                            Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Email opposing counsel service copies of requests for production and
                                                 interrogatories set 1; calendar response deadline.
                   Murieta
                   Equestrian
  3/15/2021 CCKA   Center     Esmeralda Bustos                                                                                  0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Finalize status report and file via ECF; download and save notice of
                                                 electronic filing.
                   Murieta
                   Equestrian
  3/19/2021 CCKA   Center     Esmeralda Bustos                                                                                  0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Email requested native word versions of requests for production and
                                                 interrogatories to opposing counsel.
                   Murieta
                   Equestrian
  3/30/2021 CCKA   Center     Esmeralda Bustos                                                                                  0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Download and save minute order; calendar settlement conference
                                                 deadlines.
                   Murieta
                   Equestrian
  4/15/2021 CCKA   Center     Esmeralda Bustos                                                                                  0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Email to Magistrate Judge Newman's courtroom deputy to request
                                                 mediation date availability in mid-October.
                   Murieta
                   Equestrian
  7/19/2021 CCKA   Center     Esmeralda Bustos                                                                                  0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Save and update settlement conference calendar deadlines.

                   Murieta
                   Equestrian
   8/2/2021 CCKA   Center     Esmeralda Bustos                                                                                  0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Download and save ECF notices.

                   Murieta
                   Equestrian
  10/8/2021 CCKA   Center     Esmeralda Bustos                                                                                  0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Download and save NEF docket; update calendar for settlement
                                                 conference.
                   Murieta
                   Equestrian
 10/11/2021 CCKA   Center     Esmeralda Bustos                                                                                  0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Telephone call with T. Trillo re: ECF filing of Second Amended
                                                 Complaint.
                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center     Esmeralda Bustos                                                                                  0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Consult prior U.S. Army Corps of Engineers subpoena for info re:
                                                 Touhey letter.
                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center     Esmeralda Bustos                                                                                  0.2    $218.00           $43.60                                    $0.00                                     0




                                                                                                            Page 5 of 80
                                        Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                            Page 9 of 83
Date      Client   Matter     Staff              Description                                                            Hours         Rate       Total               Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Review supreme court rules on paper copies of briefs. Discuss rules
                                                 with T. Trillo.
                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Esmeralda Bustos                                                                                  0.5    $218.00            $109.00                                     $0.00                                     0

                                                 Download and save files from DoD.

                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center     Esmeralda Bustos                                                                                  0.2    $218.00             $43.60                                     $0.00                                     0

                                                 Telephone calls with T. Trillo re: downloading and saving DoD files.

                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center     Esmeralda Bustos                                                                                  0.2    $218.00             $43.60                                     $0.00                                     0

                                                 Finalize Second Amended Complaint and exhibit. File both via ECF.

                   Murieta
                   Equestrian
  3/10/2022 CCKA   Center     Esmeralda Bustos                                                                                  0.4    $218.00             $87.20                                     $0.00                                     0

                                                 Telephone call with J. Flanders re: Second Amended Complaint filing

                   Murieta
                   Equestrian
  3/10/2022 CCKA   Center     Esmeralda Bustos                                                                                  0.1    $218.00             $21.80                                     $0.00                                     0

                                                 Download zip files of subpoena production then upload to Everlaw for
                                                 processing. Begin drafting notice. Email to J. Flanders re: same.
                   Murieta
                   Equestrian
  3/29/2022 CCKA   Center     Esmeralda Bustos                                                                                  5.1    $218.00           $1,111.80                                    $0.00                                     0

                                                 Upload additional documents for production to Everlaw.

                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Esmeralda Bustos                                                                                  0.5    $218.00            $109.00                                     $0.00                                     0

                                                 Telephone call to Everlaw re: status of Rancho Murieta Community
                                                 Services District data
                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Esmeralda Bustos                                                                                  0.1    $218.00             $21.80                                     $0.00                                     0

                                                 Reply to J. Flanders email re: additional documents for production.

                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Esmeralda Bustos                                                                                  0.1    $218.00             $21.80                                     $0.00                                     0

                                                 Reply to email from Everlaw re: Rancho Murieta Community Services
                                                 District upload
                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Esmeralda Bustos                                                                                  0.1    $218.00             $21.80                                     $0.00                                     0




                                                                                                            Page 6 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                           Page 10 of 83
Date      Client   Matter     Staff              Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Download production zip file and upload same to Dropbox

                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Esmeralda Bustos                                                                                    2.2    $218.00           $479.60                                    $0.00                                     0

                                                 Create Everlaw binders and production protocol. Production of
                                                 documents.
                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Esmeralda Bustos                                                                                    1.6    $218.00           $348.80                                    $0.00                                     0

                                                 Telephone call with Everlaw support re: production, document
                                                 conversion errors, and protocols.
                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.9    $218.00           $196.20                                    $0.00                                     0

                                                 Revise notice to cite Federal Rule of Civil Procedure rule 26

                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Provide update on document production during staff meeting

                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Review final production on Everlaw. Telephone call with T. Trillo re:
                                                 accompanying notice. Draft notice and email to J. Flanders for review.
                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.8    $218.00           $174.40                                    $0.00                                     0

                                                 Second attempt to upload production to Dropbox. Finalize disclosures
                                                 notice and Proof of Service.
                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Esmeralda Bustos                                                                                    2.6    $218.00           $566.80                                    $0.00                                     0

                                                 Update Proof of Service and test Dropbox link.

                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Serve opposing counsel supplemental production via email.

                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone call with J. Flanders re: disclosure notice and POS

                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                            Page 7 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                               Page 11 of 83
Date      Client   Matter     Staff              Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft proposed order for ex parte application

                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Esmeralda Bustos                                                                                          0.6    $218.00           $130.80                                    $0.00                                     0

                                                 Telephone call with J. Flanders re: ex parte application filing (.1).
                                                 Research Local Rules re: ex parte filings (.3).
                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Esmeralda Bustos                                                                                          0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Format objection to notice of taking of deposition.

                   Murieta
                   Equestrian
  4/12/2022 CCKA   Center     Esmeralda Bustos                                                                                          0.6    $218.00           $130.80                                    $0.00                                     0

                                                 Telephone calls with T. Brett re: Proof of Service file name (.1). Rename
                                                 file and email to opposing counsel (.2).
                   Murieta
                   Equestrian
  4/12/2022 CCKA   Center     Esmeralda Bustos                                                                                          0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Telephone call with T. Brett re: notice of objection of taking of deposition
                                                 format
                   Murieta
                   Equestrian
  4/12/2022 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone call with J. Flanders re: email instructing service of notice of
                                                 objection of taking of deposition
                   Murieta
                   Equestrian
  4/12/2022 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Serve via email objection to notice of taking deposition on opposing
                                                 counsel
                   Murieta
                   Equestrian
  4/12/2022 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone call with T. Trillo re: filing non-party subpoenas

                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Reply email re: Murieta Equestrian Center coding project on Everlaw.

                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Telephone call with C. Hudak re: Murieta Equestrian Center documents
                                                 on Everlaw.
                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     Esmeralda Bustos                                                                                          0.4    $218.00            $87.20                                    $0.00                                     0




                                                                                                                Page 8 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                           EXHIBIT 1 Filed 04/18/25
                                                                                                     Document 189-7                                                        Page 12 of 83
Date      Client   Matter     Staff              Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Review Everlaw Murieta Equestrian Center files. Email J. Flanders re:
                                                 same.
                   Murieta
                   Equestrian
  4/26/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Download final production from 4/1/22. Several attempts to upload same
                                                 to client file.
                   Murieta
                   Equestrian
  4/27/2022 CCKA   Center     Esmeralda Bustos                                                                                    3.3    $218.00           $719.40                                    $0.00                                     0

                                                 Transmit payment to Veritext for Ian Wren transcript.

                   Murieta
                   Equestrian
  4/27/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Discuss discovery production on Everlaw

                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Email to C. Hudak re: production audit.

                   Murieta
                   Equestrian
  4/29/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Email to J. Flanders re: case expenses.

                   Murieta
                   Equestrian
  4/29/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Audit discovery folder and reorganize documents. Draft table
                                                 documenting timeline of discovery served and corresponding responses.
                   Murieta
                   Equestrian
   5/2/2022 CCKA   Center     Esmeralda Bustos                                                                                    1.3    $218.00           $283.40                                    $0.00                                     0

                                                 Telephone call with C. Hudak re: defendant production audit.

                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save Veritext invoice.

                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Call with T. Brett re: filing motion for alternative service of Carol
                                                 Anderson Ward subpoena and ex parte app for OST
                   Murieta
                   Equestrian
  5/12/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                                 Page 9 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                             Page 13 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft notice and update subpoena forms. Telephone calls with J.
                                                 Flanders re: declaration exhibits. Add additional exhibits. Finalize
                   Murieta                       motion and supporting documents for filing.
                   Equestrian
  5/13/2022 CCKA   Center     Esmeralda Bustos                                                                                       1.9    $218.00           $414.20                                    $0.00                                     0

                                                 Review T. Brett filing instructions and declaration exhibits. Add cover
                                                 pages to exhibits.
                   Murieta
                   Equestrian
  5/13/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.7    $218.00           $152.60                                    $0.00                                     0

                                                 File motion and supporting documents with Eastern District of California.
                                                 Email magistrate judge proposed order.
                   Murieta
                   Equestrian
  5/13/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.7    $218.00           $152.60                                    $0.00                                     0

                                                 Telephone call with J. Flanders re: motion filing logistics.

                   Murieta
                   Equestrian
  5/13/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Review local rules to determine deadlines for opposition and reply.
                                                 Calculate all deadlines and calendar. Update case master spreadsheet
                   Murieta                       deadlines.
                   Equestrian
  5/16/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.6    $218.00           $130.80                                    $0.00                                     0

                                                 Review RJN declaration and exhibits; review productions on Everlaw to
                                                 determine project/production data size.
                   Murieta
                   Equestrian
  5/16/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Create project and binders for production on Everlaw.

                   Murieta
                   Equestrian
  5/18/2022 CCKA   Center     Esmeralda Bustos                                                                                       1.1    $218.00           $239.80                                    $0.00                                     0

                                                 Attempt to create production log for second supplement disclosures.

                   Murieta
                   Equestrian
  5/18/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.9    $218.00           $196.20                                    $0.00                                     0

                                                 Communicate with Everlaw re: production log. Create production log.

                   Murieta
                   Equestrian
  5/18/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Telephone call with C. Hudak re: document/project on Everlaw

                   Murieta
                   Equestrian
  5/18/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.4    $218.00            $87.20                                    $0.00                                     0




                                                                                                                Page 10 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                             Page 14 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Telephone call with C. Hudak re: discovery sent/received and
                                                 documents on Everlaw.
                   Murieta
                   Equestrian
  5/18/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                      0

                                                 Edit/recreate production from Everlaw for 2nd supplement production.

                   Murieta
                   Equestrian
  5/19/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.4    $218.00            $87.20                                    $0.00                                      0

                                                 Teleconference with J. Flanders re: draft joint stip

                   Murieta
                   Equestrian
  5/20/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Draft joint stip re: motion for leave to serve subp by alternative means.

                   Murieta
                   Equestrian
  5/20/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.7    $218.00           $152.60                                    $0.00                                      0

                                                 Conduct research on searches/search folders for Outlook.

                   Murieta
                   Equestrian
  5/20/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.5    $218.00           $109.00                                    $0.00                                      0

                                                 Confer with E. Maharg re: email searching.

                   Murieta
                   Equestrian
  5/20/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Incorporate edits to stip; finalize for filing.

                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                      0

                                                 Scan and save Anderson Ward grant deeds.

                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                      0

                                                 File stipulation. Email proposed order to magistrate judge. Download
                                                 and save docket entries.
                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.4    $218.00            $87.20                                    $0.00                                      0

                                                 Communicate with J. Flanders re: service of stipulation and motion on C.
                                                 Anderson Ward. Print service copies and draft Proof of Service.
                   Murieta                       Prepare FedEx label and envelope.
                   Equestrian
  5/25/2022 CCKA   Center     Esmeralda Bustos                                                                                       1.3    $218.00             $0.00                               $283.40                                        1.3




                                                                                                            Page 11 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                             Page 15 of 83
Date      Client   Matter     Staff              Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Format/edit subpoena form and deposition notices. Update Proof of
                                                 Service.
                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Esmeralda Bustos                                                                                      1.8    $218.00           $392.40                                    $0.00                                     0

                                                 Format deposition notice for S. Paulsen. Email court reporter for
                                                 deposition coverage.
                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.6    $218.00           $130.80                                    $0.00                                     0

                                                 Begin drafting Proof of Service for discovery to be served today.

                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Email requests for production set 4 and deposition/subpoena to
                                                 opposing counsel. Calendar defendant's deadline to respond.
                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Call with T. Brett re: service of requests for production and deposition
                                                 notices
                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Call with T. Brett re: service of discovery devices on defendant today.

                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save docket entry. Update motion for leave to serve
                                                 subpoena by alternative means deadlines. Attempt to download
                   Murieta                       defendant document production.
                   Equestrian
  5/26/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Review Judge Barnes' info page for motion hearing days.

                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Reply to court reporter to confirm coverage for 6/8 and 6/9 depositions.
                                                 Calendar same.
                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Add deposition information to case spreadsheet.

                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                            Page 12 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                             Page 16 of 83
Date      Client   Matter     Staff              Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Finalize requests for production set 5 and Proof of Service. Draft email
                                                 and serve requests for production and Thunder Mountain subpoena on
                   Murieta                       opposing counsel. Calculate and calendar defendant's response
                   Equestrian                    deadline.
  5/27/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.6    $218.00           $130.80                                    $0.00                                     0

                                                 Format subpoena and exhibits for service.

                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Submit order to River City for rush service of subpoena on Thunder
                                                 Mountain.
                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Draft Proof of Service for requests for production set 5 and Thunder
                                                 Mountain subpoena.
                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Telephone call with T. Brett re: service of Thunder Mountain subpoena
                                                 and requests for production set 5.
                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save docket entries. Calendar last day to hold ADR
                                                 session.
                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Email T. Brett updates on Thunder Mountain subpoena service.

                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save docket entries.

                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Email River City to request service at agent's office address.

                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Confer with C. Hudak re: Everlaw Murieta Equestrian Center project.
                                                 Add D. Hunt as project user.
                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00            $65.40                                    $0.00                                     0




                                                                                                            Page 13 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                            EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                          Page 17 of 83
Date      Client   Matter     Staff              Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Download and save Proof of sub service on Thunder Mountain; email
                                                 same to J. Flanders and T. Brett.
                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Confer with J. Flanders re: service of interrogatory response.

                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Format interrogatory response and finalize for service. Update Proof of
                                                 Service.
                   Murieta
                   Equestrian
   6/6/2022 CCKA   Center     Esmeralda Bustos                                                                                     1.0    $218.00           $218.00                                    $0.00                                      0

                                                 Call with T. Brett re: arranging for printing documents.

                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.3    $218.00            $65.40                                    $0.00                                      0

                                                 Call with T. Brett re: document printing and production for depositions
                                                 (Paulsen and 30(b)(6))
                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Call with T. Brett re: document printing

                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Call with J. Flanders and T. Brett re: exhibit production

                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.3    $218.00             $0.00                                $65.40                                        0.3

                                                 Email to court reporter K. Gillie re: exhibits and expedited Paulsen
                                                 transcript.
                   Murieta
                   Equestrian
  6/13/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Email to court reporter to request expedited Paulsen deposition
                                                 transcript.
                   Murieta
                   Equestrian
  6/13/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Reply to email from court reporter D. Scarpelli.

                   Murieta
                   Equestrian
  6/13/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                      0




                                                                                                             Page 14 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                           EXHIBIT 1 Filed 04/18/25
                                                                                                      Document 189-7                                                          Page 18 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Email J. Flanders re: expert rebuttal deadline.

                   Murieta
                   Equestrian
  6/13/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Review case docket to determine updated deadlines.

                   Murieta
                   Equestrian
  6/14/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Draft follow up email to J. Flanders re: transcript and Pearson deposition
                                                 exhibit.
                   Murieta
                   Equestrian
  6/15/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Follow up emails to court report re: exhibit 19 of Pearson deposition.

                   Murieta
                   Equestrian
  6/16/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Reply to court reporter email re: expedited transcript.

                   Murieta
                   Equestrian
  6/16/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Download and save Murieta Equestrian Center spreadsheets re: decay,
                                                 hydrology and sample results. Search for initial Paulsen report.
                   Murieta
                   Equestrian
  6/21/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Run comparison of initial and revised Paulsen reports. Email report to J.
                                                 Flanders.
                   Murieta
                   Equestrian
  6/21/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Create SharePoint link for client to access files.

                   Murieta
                   Equestrian
  6/21/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Download and save Paulsen deposition transcript; email same to client.

                   Murieta
                   Equestrian
  6/22/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Download and save corrected exhibit 18 to Paulsen deposition.

                   Murieta
                   Equestrian
  6/22/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0




                                                                                                            Page 15 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                                Page 19 of 83
Date      Client   Matter     Staff              Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Submit payment to court reporter for Paulsen deposition transcript.

                   Murieta
                   Equestrian
  6/23/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Compare defendant's 6-3-22 supplemental production to Pearson
                                                 deposition exhibits 34-45.
                   Murieta
                   Equestrian
  6/27/2022 CCKA   Center     Esmeralda Bustos                                                                                         1.7    $218.00           $370.60                                    $0.00                                     0

                                                 Download and save Pearson deposition transcripts and defendant's
                                                 document production from 6-3-22.
                   Murieta
                   Equestrian
  6/27/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Email to I. Wren with exhibit and bates ranges re: Pearson exhibits.

                   Murieta
                   Equestrian
  6/27/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Reply to I. Wren email re: SharePoint access to documents.

                   Murieta
                   Equestrian
  6/27/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Revise deposition notice subpoena form. Draft Proof of Service. Email to
                                                 T. Brett for review.
                   Murieta
                   Equestrian
  6/30/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.9    $218.00           $196.20                                    $0.00                                     0

                                                 Finalize subpoena notice, form and proof of service. Email A. Ramos
                                                 and opposing counsel service copies of same.
                   Murieta
                   Equestrian
  6/30/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.6    $218.00           $130.80                                    $0.00                                     0

                                                 Call with T. Brett re: final versions of Rancho Murieta Community
                                                 Services District subpoenas; review the same.
                   Murieta
                   Equestrian
  6/30/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: subpoena and subsequent service of
                                                 same.
                   Murieta
                   Equestrian
   7/6/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Finalize stipulation and proposed order. Efile then email native version to
                                                 judge.
                   Murieta
                   Equestrian
   7/6/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.3    $218.00            $65.40                                    $0.00                                     0




                                                                                                            Page 16 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                            EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                          Page 20 of 83
Date      Client   Matter     Staff              Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Add opposing counsel edits to stip.

                   Murieta
                   Equestrian
   7/6/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Pay court reporter invoice for Pearson deposition transcript.

                   Murieta
                   Equestrian
   7/6/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone call with T. Brett re: disclosure statement.

                   Murieta
                   Equestrian
   7/7/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download Ian Wren files and upload to Dropbox for service. Finalize
                                                 disclosure statement and Proof of Service.
                   Murieta
                   Equestrian
   7/7/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.8    $218.00           $174.40                                    $0.00                                     0

                                                 Review prior expert report and service thereof. Draft Proof of Service
                                                 and accompanying disclosure statement. Reply to Wren email re: link to
                   Murieta                       report.
                   Equestrian
   7/7/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Draft email and serve opposing counsel expert rebuttal report and file.

                   Murieta
                   Equestrian
   7/7/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Email T. Brett re: disclosure statement for expert rebuttal report.

                   Murieta
                   Equestrian
   7/7/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Reply to email from D. Hunt re: link to Wren rebuttal report.

                   Murieta
                   Equestrian
   7/7/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone call with I. Wren re: link to rebuttal report.

                   Murieta
                   Equestrian
   7/7/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Discuss prep of deposition exhibits with J. Flanders.

                   Murieta
                   Equestrian
  7/11/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                             Page 17 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                                 Document 189-7                                                           Page 21 of 83
Date      Client   Matter     Staff              Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Calendar Rancho Murieta Community Services District deposition.

                   Murieta
                   Equestrian
  7/11/2022 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Email court reporter re: deposition exhibits.

                   Murieta
                   Equestrian
  7/12/2022 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Upload deposition exhibits to Dropbox. Create link to share same with
                                                 opposing counsel. Draft email and send.
                   Murieta
                   Equestrian
  7/14/2022 CCKA   Center     Esmeralda Bustos                                                                                   0.9    $218.00           $196.20                                    $0.00                                     0

                                                 Reply to Rancho Murieta Community Services District counsel re: zoom
                                                 meeting link. Email court reporter deposition exhibits.
                   Murieta
                   Equestrian
  7/14/2022 CCKA   Center     Esmeralda Bustos                                                                                   0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Teleconference with J. Flanders re: deposition exhibits.

                   Murieta
                   Equestrian
  7/14/2022 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with J. Flanders re: Wren deposition transcripts (.1).
                                                 Teleconference with Veritext re: transcripts (.4)
                   Murieta
                   Equestrian
  7/15/2022 CCKA   Center     Esmeralda Bustos                                                                                   0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Upload added exhibits to Dropbox file for opposing counsel and email
                                                 same to court reporter.
                   Murieta
                   Equestrian
  7/15/2022 CCKA   Center     Esmeralda Bustos                                                                                   0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Teleconference with E. Maharg re: production of Wren email (.1). Add
                                                 bates number to document production, draft accompanying Proof of
                   Murieta                       Service. Email opposing counsel production (.6).
                   Equestrian
  7/18/2022 CCKA   Center     Esmeralda Bustos                                                                                   0.7    $218.00           $152.60                                    $0.00                                     0

                                                 Download and save defendant's production.

                   Murieta
                   Equestrian
  7/18/2022 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Teleconference with J. Flanders re: meeting Murieta Equestrian Center
                                                 production on Everlaw.
                   Murieta
                   Equestrian
  7/19/2022 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00            $43.60                                    $0.00                                     0




                                                                                                            Page 18 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                               Page 22 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Teams meeting to discuss status of production archives.

                   Murieta
                   Equestrian
  7/20/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.7    $218.00           $109.00                                $43.60                                        0.2

                                                 Teleconference with C. Hudak to review/audit discovery files.

                   Murieta
                   Equestrian
  7/20/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.7    $218.00           $152.60                                    $0.00                                      0

                                                 Email to Veritext customer service to request deposition transcripts of
                                                 Ian Wren.
                   Murieta
                   Equestrian
  7/20/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Download and save volumes 1 and 2 of Ian Wren deposition transcripts.

                   Murieta
                   Equestrian
  7/20/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Review Murieta Equestrian Center discovery file and address items in C.
                                                 Hudak spreadsheet.
                   Murieta
                   Equestrian
  7/22/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.9    $218.00           $196.20                                    $0.00                                      0

                                                 Teleconference with C. Hudak re: discovery spreadsheet.

                   Murieta
                   Equestrian
  7/22/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Follow up teleconference with C. Hudak re: defendant document
                                                 productions.
                   Murieta
                   Equestrian
  7/22/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Teleconference with C. Hudak re: document index of file in support of
                                                 Motion for Summary Judgment
                   Murieta
                   Equestrian
  7/27/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20                                    $0.00                                      0

                                                 Confer with J. Flanders re: stipulation caption page (.1). Finalize same
                                                 for filing; confirm proposed order emailing procedure (.2). Efile stip and
                   Murieta                       email native version to Judge (.2). Download and save conformed copy
                   Equestrian                    (.1).
  7/28/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.6    $218.00           $130.80                                    $0.00                                      0

                                                 Email court reporter re: Fritschi deposition transcript. Download and
                                                 save same.
                   Murieta
                   Equestrian
  7/28/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                      0




                                                                                                            Page 19 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                          Page 23 of 83
Date      Client   Matter     Staff              Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Calendar deadlines from dockets 64 and 65.

                   Murieta
                   Equestrian
  8/23/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Reply to J. Flanders re: details of Wren deposition on 7/18/22.

                   Murieta
                   Equestrian
  8/23/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Email Veritext inquiry re: 7/18/22 Wren deposition transcript.

                   Murieta
                   Equestrian
  8/24/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Reply to Veritext email. Confirm order for 7/18/22 deposition transcript
                                                 of Ian Wren.
                   Murieta
                   Equestrian
  8/24/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Reply to J. Flanders email re: Wren deposition transcript.

                   Murieta
                   Equestrian
  8/25/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Pay Veritext invoice for 7/18/22 Ian Wren deposition transcript.
                                                 Download and save transcript; email same to J. Flanders.
                   Murieta
                   Equestrian
   9/7/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Email Veritext to inquire about procedures to make corrections to Wren
                                                 deposition transcript.
                   Murieta
                   Equestrian
  9/13/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Further email inquiry to Veritext re: transcript corrections.

                   Murieta
                   Equestrian
  9/13/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Email Veritext to inquire about procedures to make corrections to Wren
                                                 deposition transcript.
                   Murieta
                   Equestrian
  9/13/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with C. Hudak re: Everlaw (.2). Email to C. Capps re:
                                                 same (.2)
                   Murieta
                   Equestrian
  9/22/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.4    $218.00           $87.20                                    $0.00                                     0




                                                                                                                 Page 20 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                             EXHIBIT 1 Filed 04/18/25
                                                                                                      Document 189-7                                                         Page 24 of 83
Date      Client   Matter     Staff              Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Download recent ECF notifications. Calendar stipulated Motion for
                                                 Summary Judgment pleading deadlines.
                   Murieta
                   Equestrian
 10/19/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.4    $218.00            $87.20                                    $0.00                                      0

                                                 Draft reply email to EAM re: processed data remaining on Everlaw.

                   Murieta
                   Equestrian
 11/14/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Search Everlaw ATA umbrella account to determine how to download
                                                 documents designated by EAM.(5) Telephone call with C. Hudak re:
                   Murieta                       document cards. (.1)
                   Equestrian
 11/15/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.6    $218.00             $0.00                               $130.80                                        0.6

                                                 Finish downloading and archiving data from Everlaw.

                   Murieta
                   Equestrian
 11/15/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Further teleconference with C. Hudak re: instructions to download data
                                                 from Everlaw.
                   Murieta
                   Equestrian
 11/15/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00             $0.00                                $21.80                                        0.1

                                                 Begin downloading and saving to external hard drive processed data
                                                 from Everlaw.
                   Murieta
                   Equestrian
 11/16/2022 CCKA   Center     Esmeralda Bustos                                                                                      2.5    $218.00           $545.00                                    $0.00                                      0

                                                 Teleconference with T. Brett re: opposition filing later in the week.

                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Call with T. Brett re: filing opp to mtn to stay / defer.

                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Add tables of authorities and content. Telephone calls with T. Brett re:
                                                 same. Prepare pdfs of all opposition pleadings for filing.
                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Esmeralda Bustos                                                                                      2.8    $218.00           $610.40                                    $0.00                                      0

                                                 Teleconference with T. Brett re: today's opposition filing. Calendar
                                                 motion filing deadlines.
                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60                                    $0.00                                      0




                                                                                                              Page 21 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                                 Document 189-7                                                                Page 25 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 File opposition pleadings. Download and save NEF notifications of
                                                 same.
                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Download and save docket no. 78.

                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Confer with C. Hudak re: exhibit bates numbering.

                   Murieta
                   Equestrian
 12/12/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Call with J. Flanders re: Motion for Summary Judgment work

                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Review Judge Barnes standing order and local rules re: courtesy copies.
                                                 Telephone call to ECF helpdesk re: pdf file size limitations. Email to
                   Murieta                       courtroom deputy re: submission of exhibit courtesy copies.
                   Equestrian
 12/13/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Draft notice of lodging. Emails with D. Hunt re: lodging of drone footage.
                                                 Excerpt Paulsen and Pearson deposition transcripts. Draft declaration
                   Murieta                       exhibit spreadsheet template. Begin drafting RJN and locating
                   Equestrian                    supporting exhibits.
 12/13/2022 CCKA   Center     Esmeralda Bustos                                                                                        2.3    $218.00           $501.40                                    $0.00                                     0

                                                 Draft templates of notice of lodging, proposed order, J. Flanders
                                                 declaration, and incorporate notice of motion to MPA. Review local rules
                   Murieta                       on lodging exhibits; review courtroom deputy reply re: same.
                   Equestrian
 12/13/2022 CCKA   Center     Esmeralda Bustos                                                                                        1.5    $218.00           $327.00                                    $0.00                                     0

                                                 Teleconference with J. Flanders re: Motion for Summary Judgment
                                                 tasks.
                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Begin bates numbering Motion for Summary Judgment exhibits.

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Esmeralda Bustos                                                                                        1.9    $218.00           $414.20                                    $0.00                                     0

                                                 Continuing labeling and bates numbering exhibits. Being download
                                                 drone video footage.
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Esmeralda Bustos                                                                                        1.6    $218.00           $348.80                                    $0.00                                     0




                                                                                                           Page 22 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                           EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                             Page 26 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Begin incorporating data into exhibit list spreadsheet.

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.5    $218.00           $109.00                                    $0.00                                      0

                                                 Emails and telephone call with D. Hunt re: Pearson deposition transcript.

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.4    $218.00            $65.40                                $21.80                                        0.1

                                                 Draft multiple reply emails to D. Hunt re: deposition excerpts, exhibits
                                                 and drone footage.
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                      0

                                                 Teleconference with J. Flanders re: motion tasks.

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                      0

                                                 Draft reply to D. Hunt re: deposition excerpts.

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Teleconference with C. Hudak re: exhibit list task.

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Teleconference with C. Hudak re: additional exhibit tasks.

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Continue drafting declaration and RJN. Add labels and bates numbers
                                                 to additional exhibits.
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Esmeralda Bustos                                                                                       3.6    $218.00           $784.80                                    $0.00                                      0

                                                 Continue drafting J. Flanders declaration and RJN.

                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Esmeralda Bustos                                                                                       1.5    $218.00           $327.00                                    $0.00                                      0

                                                 Continue drafting J. Flanders declaration.

                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Esmeralda Bustos                                                                                       1.4    $218.00           $305.20                                    $0.00                                      0




                                                                                                              Page 23 of 80
                                        Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                            Page 27 of 83
Date      Client   Matter      Staff             Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Continue adding labels and bates numbers to exhibits. Imbed hyperlinks
                                                 to drone footage.
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Esmeralda Bustos                                                                                       1.1    $218.00           $239.80                                    $0.00                                      0

                                                 Research how to download MP4 of YouTube videos.

                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                      0

                                                 Review emails for status on Motion for Summary Judgment tasks.

                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Email to D. Hunt and J. Flanders re: obstacles to downloading drone
                                                 footage.
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Add updated exhibits to J. Flanders declaration. Label and bates number
                                                 newly added exhibits. Update notice of lodging and proposed order.
                   Murieta                       Update exhibits as required.
                   Equestrian
 12/16/2022 CCKA   Center     Esmeralda Bustos                                                                                       3.5    $218.00           $763.00                                    $0.00                                      0

                                                 Incorporate authenticating language to Wren declaration. Create
                                                 captions pages for Burchiel and Bothwell declarations. Create batch
                   Murieta                       pdfs of J. Flanders declaration exhibits.
                   Equestrian
 12/16/2022 CCKA   Center     Esmeralda Bustos                                                                                       2.9    $218.00           $632.20                                    $0.00                                      0

                                                 Finalize remaining motion pleadings. File Motion for Summary
                                                 Judgment and supporting documents via ECF.
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Esmeralda Bustos                                                                                       1.1    $218.00           $239.80                                    $0.00                                      0

                                                 Assist with brief formatting for table of contents. Begin creating filing
                                                 versions of completed pleadings.
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Esmeralda Bustos                                                                                       2.4    $218.00           $523.20                                    $0.00                                      0

                                                 Communicate with T. Trillo re: finalizing and filing.

                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                               Finalize notice of lodging for filing. File same via ECF. Download and
                                               save conformed copies of Motion for Summary Judgment. Print courtesy
                   Murieta                     copies of Motion for Summary Judgment and save J. Flanders
                   Equestrian                  declaration exhibits to flash drive. Prepare FedEx shipping label.
 12/19/2022 CCKA   Center     Esmeralda Bustos Travel/to from FedEx. Email proposed order to MJ Barnes.                              1.8    $218.00             $0.00                               $392.40                                        1.8




                                                                                                              Page 24 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                                Page 28 of 83
Date      Client   Matter     Staff              Description                                                                     Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Download and save notice of acknowledgment re: flash drive with
                                                 exhibits.
                   Murieta
                   Equestrian
 12/20/2022 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Research how to download you tube videos. Create mp4s of drone
                                                 videos, download and save for lodging with the court. Upload same
                   Murieta                       videos to client file. Draft notice of lodging. Test flash drive with videos.
                   Equestrian                    Draft email J. Flanders and D. Hunt re: notice of lodging.
   1/6/2023 CCKA   Center     Esmeralda Bustos                                                                                           1.0    $218.00             $0.00                               $218.00                                        1

                                                 Reply to Ian Wren and email copy of J. Flanders declaration in support of
                                                 Motion for Summary Judgment and accompanying exhibits.
                   Murieta
                   Equestrian
   1/6/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Email D. Hunt and J. Flanders re: plans to lodge drone videos.

                   Murieta
                   Equestrian
   1/6/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Finalize notice of lodging and file via ECF. Download and save ECF
                                                 notification. Print same and prepare FedEx mailing label. Travel to/from
                   Murieta                       FedEx.
                   Equestrian
   1/9/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.8    $218.00           $174.40                                    $0.00                                     0

                                                 Update notice of lodging. Create FedEx label.

                   Murieta
                   Equestrian
   1/9/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Draft email to J. Flanders and T. Brett re: opposition filing deadline.

                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Call with T. Brett w/r/t uploading Defs Motion for Summary Judgment to
                                                 shared (plus supporting exhibits)
                   Murieta
                   Equestrian
  1/12/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save docket no. 80. Forward same to EAM and T Brett.

                   Murieta
                   Equestrian
  1/12/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft pleading for response to defendant's SUF.

                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.9    $218.00           $196.20                                    $0.00                                     0




                                                                                                              Page 25 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                            Page 29 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Save drone videos to flash drive and test. Create FedEx label to ship
                                                 flash drive to opposing counsel. Travel/to from FedEx.
                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.8    $218.00           $174.40                                    $0.00                                     0

                                                 Emails with J. Flanders re: lodged drone videos to opposing counsel.

                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Further emails with J. Flanders re: drone videos to opposing counsel.

                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Reply to J. Flanders email re: availability to file reply tomorrow.

                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Cite check brief; add tables of authorities and table of contents. Format
                                                 and finalize Bothwell declaration and accompanying exhibits.
                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Esmeralda Bustos                                                                                       3.0    $218.00           $654.00                                    $0.00                                     0

                                                 Add exhibit letter sheets to Bothwell declaration exhibits.

                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                                 File opposition brief, Bothwell declaration and response to SUF.

                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: opposition brief status and next steps.

                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Track FedEx shipment of video footage to opposing counsel.

                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save filed oppositions.

                   Murieta
                   Equestrian
  1/19/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                               Page 26 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                     Document 189-7                                                            Page 30 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Research/attempt formatting of converted word table. Emails to J.
                                                 Flanders re: same.
                   Murieta
                   Equestrian
  1/23/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.8    $218.00           $174.40                                    $0.00                                     0

                                                 Download and save second ECF entry of defendant's opposition at
                                                 docket no. 87.
                   Murieta
                   Equestrian
  1/23/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Call with T. Brett re: formatting pleading paper.

                   Murieta
                   Equestrian
  1/25/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Reply to Wren email re: copy of his declaration.

                   Murieta
                   Equestrian
  1/26/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to opposing counsel to request native word version of docket
                                                 87.
                   Murieta
                   Equestrian
  1/26/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Further research and attempts at creating a workable template of
                                                 defendant's response to plaintiff's SUF
                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.8    $218.00           $174.40                                    $0.00                                     0

                                                 Create scrubbed word version of plaintiff's response to defendants SUF.

                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Email to J. Flanders re: Murieta Equestrian Center reply deadline.

                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Email to J. Flanders to inquire if opposing counsel replied to our request
                                                 for native of docket no. 87.
                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Add J. Flanders comments to pleading of Defendant's SUF.

                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Esmeralda Bustos                                                                                        1.3    $218.00           $283.40                                    $0.00                                     0




                                                                                                            Page 27 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                                 Document 189-7                                                               Page 31 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Teleconference with J. Flanders re: updates and formatting to SUF
                                                 template.
                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save Defendant's SUF; email opposing counsel scrubbed
                                                 version of Plaintiff's response to Defendant's SUF.
                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft email to J. Flanders with regards to next steps for defendant's SUF
                                                 template.
                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft new SUF reply pleading.

                   Murieta
                   Equestrian
   2/1/2023 CCKA   Center     Esmeralda Bustos                                                                                       1.8    $218.00           $392.40                                    $0.00                                     0

                                                 Audit SUF to find fact numbers where Wren testimony is cited as
                                                 unreliable, unscientific, etc. Email findings to J. Flanders.
                   Murieta
                   Equestrian
   2/2/2023 CCKA   Center     Esmeralda Bustos                                                                                       1.2    $218.00           $261.60                                    $0.00                                     0

                                                 Live chats and telephone calls with Lexis customer service to request
                                                 cite publication.
                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Esmeralda Bustos                                                                                       1.5    $218.00           $327.00                                    $0.00                                     0

                                                 Reorganize folder with saved docket entries. Email D. Hunt shareable
                                                 link to same folder.
                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Draft email to Thomson Reuters to submit opinions for publication in
                                                 National Reporter System.
                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Upload modified versions of defendants opposition found at docket 87.

                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with J. Flanders. Discuss communicating with Lexis to
                                                 request publication of two cases.
                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                           Page 28 of 80
                                         Case 2:20-cv-01703-SCR
                                                                                                           EXHIBIT 1 Filed 04/18/25
                                                                                                     Document 189-7                                                             Page 32 of 83
Date      Client   Matter      Staff              Description                                                                   Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                  Draft reply email to Thomson Reuters for case information for San
                                                  Francisco Baykeeper v. City of Sunnyvale, 2022 U.S. Dist. LEXIS
                   Murieta                        164053.
                   Equestrian
   2/7/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00           $43.60                                    $0.00                                      0

                                                  Follow up emails to Thomson Reuters re: cite number assignment.

                   Murieta
                   Equestrian
   2/7/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00           $43.60                                    $0.00                                      0

                                                  Email J. Flanders Thomson Reuters reply re: opinion publication request.

                   Murieta
                   Equestrian
   2/7/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00           $21.80                                    $0.00                                      0

                                                  Forward Thomson Reuters email re: publication of SF Baykeeper
                                                  opinions
                   Murieta
                   Equestrian
   2/7/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00           $21.80                                    $0.00                                      0

                                                  Call with T. Brett re: help compiling exhibits for J Brett declaration.

                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00           $21.80                                    $0.00                                      0

                                                  Audit and locate defendant's request for interrogatories and request for
                                                  production quoted in reply brief. Save copies in exhibit folder.
                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.3    $218.00           $65.40                                    $0.00                                      0

                                                  Teleconference with T. Brett re: assistance with locating language from
                                                  either requests for admission or requests for production propounded by
                   Murieta                        Defendants.
                   Equestrian
  2/14/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $0.00                                $21.80                                        0.1

                                                  Teleconference with T. Brett re: creating copy of deposition transcript for
                                                  extraction of pages.
                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00           $21.80                                    $0.00                                      0

                                               Cite check reply. Add tables of contents and authorities to same.
                                               Prepare filing versions of reply and accompanying attachments. Draft
                   Murieta                     notice of lodging for chambers copies. Efile reply, attachments and
                   Equestrian                  notice of lodging. Save filed copies of reply to USB flash drive. Prepare
  2/17/2023 CCKA   Center     Esmeralda Bustos mailing envelope for notice of lodging and flash drive.                                  4.8    $218.00            $0.00                             $1,046.40                                        4.8

                                                  Teleconference with Tom re: cite check and tables for reply brief.

                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00           $21.80                                    $0.00                                      0




                                                                                                               Page 29 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                           EXHIBIT 1 Filed 04/18/25
                                                                                                     Document 189-7                                                               Page 33 of 83
Date      Client   Matter     Staff              Description                                                                     Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Teleconference with T. Brett re: work on tables for brief.

                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save NEF notifications of reply.

                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Telephone to court clerk to confirm docketing of USB flash drive with
                                                 courtesy copies of reply Motion for Summary Judgment.
                   Murieta
                   Equestrian
  2/23/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save minute order vacating Motion for Summary
                                                 Judgment hearing on 3/3/23.
                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Label exhibit to notice of supplemental authority. Finalize notice and efile
                                                 with exhibit.
                   Murieta
                   Equestrian
  5/25/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save to file ECF notifications re: notice of supplemental
                                                 authority.
                   Murieta
                   Equestrian
  5/26/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Calendar event for deadline to file supplemental brief re: Sackett v U.S.
                                                 Environmental Protection Agency ruling.
                   Murieta
                   Equestrian
   6/6/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Call with T. Trillo to coordinate 6/23 filing of supplemental brief re:
                                                 Sackett v U.S. Environmental Protection Agency ruling.
                   Murieta
                   Equestrian
  6/21/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Format supplement brief for tables. Cite check; emails and telephone
                                                 calls with D. Hunt and T. Brett re: cites, formatting and filing. Incorporate
                   Murieta                       tables. Email final version to D. Hunt for review.
                   Equestrian
  6/23/2023 CCKA   Center     Esmeralda Bustos                                                                                           2.7    $218.00           $588.60                                    $0.00                                     0

                                                 Incorporate D. Hunts edits to brief; finalize and file.

                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.8    $218.00           $174.40                                    $0.00                                     0




                                                                                                               Page 30 of 80
                                         Case 2:20-cv-01703-SCR
                                                                                                           EXHIBIT 1 Filed 04/18/25
                                                                                                     Document 189-7                                                               Page 34 of 83
Date      Client   Matter      Staff              Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                  Text T. Brett re: Sackett v U.S. Environmental Protection Agency
                                                  citation format; teleconference with T. Brett re: further brief edits. Draft
                   Murieta                        reply email to D. Hunt re: same.
                   Equestrian
  6/23/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                  Teleconference with T. Brett re: formatting of docket cites. Draft reply
                                                  email to D. Hunt re: brief.
                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                  Teleconference with T. Brett re: supplemental brief editing and filing.

                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                  Download and save conformed copies of supplement brief.

                   Murieta
                   Equestrian
  6/26/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                  Download and save to file docket no. 97 request for oral argument.

                   Murieta
                   Equestrian
  7/11/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                  Download and save order for Phase I. Forward order to J. Flanders and
                                                  T Brett. Calendar deadline to submit proposed stipulated further
                   Murieta                        schedule.
                   Equestrian
  8/16/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.2    $218.00            $43.60                                    $0.00                                     0

                                               Review local rules re: documents requiring signatures of multiple
                                               counsel. Format/edit stipulation incorporation opposing counsel's edit
                   Murieta                     and adding required authorization language as required by local rules.
                   Equestrian                  Efile final version of stipulation; email proposed order to magistrate
  8/30/2023 CCKA   Center     Esmeralda Bustos judge.                                                                                    0.5    $218.00           $109.00                                    $0.00                                     0

                                                  Draft reply email to courtroom deputy re: proposed order attachment.

                   Murieta
                   Equestrian
  8/30/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.1    $218.00            $21.80                                    $0.00                                     0

                                                  Draft proof of service. Finalize inspection request. Draft service email to
                                                  opposing counsel with inspection request.
                   Murieta
                   Equestrian
  8/31/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.5    $218.00           $109.00                                    $0.00                                     0

                                                  Download and save order re: phase II brief. Calendar order deadlines.

                   Murieta
                   Equestrian
   9/6/2023 CCKA   Center     Esmeralda Bustos                                                                                           0.3    $218.00            $65.40                                    $0.00                                     0




                                                                                                               Page 31 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                               Page 35 of 83
Date      Client   Matter     Staff              Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Follow up call with T. Brett re: revisions to R. 34 inspection request.

                   Murieta
                   Equestrian
  9/21/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Edit fifth rule 34 inspection request. Draft proof of service. Draft service
                                                 email to opposing counsel.
                   Murieta
                   Equestrian
  9/21/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Draft email to T. Brett re: service of R34 inspection request.

                   Murieta
                   Equestrian
  9/21/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file docket no. 102 - 104.

                   Murieta
                   Equestrian
  9/28/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Finalize requests for production request six. Draft proof of service. Draft
                                                 service email with same to opposing counsel. Calculate and calendar
                   Murieta                       response deadline.
                   Equestrian
  10/4/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Teams chat with J. Flanders re: subpoena preparation to identified
                                                 organizations
                   Murieta
                   Equestrian
  10/5/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone/text to T. Brett re: Murieta Equestrian Center subpoenas

                   Murieta
                   Equestrian
  10/6/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teams chat with J. Flanders re: substance of subpoenas

                   Murieta
                   Equestrian
  10/6/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: Murieta Equestrian Center subpoena
                                                 request content.
                   Murieta
                   Equestrian
  10/6/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Prepare further subpoena forms for events manager entities. Draft notice
                                                 of subpoena template.
                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Esmeralda Bustos                                                                                          0.4    $218.00            $87.20                                    $0.00                                     0




                                                                                                              Page 32 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                             Page 36 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Attempt to search Secretary of State bizonline. Draft document
                                                 subpoena template. Draft email to T. Brett re: attachment A.
                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Draft reply email to T. Brett re: document subpoenas

                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email to T. Brett re: notice of subpoena and document
                                                 subpoena forms.
                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone call to Secretary of State re: bizonline.

                   Murieta
                   Equestrian
 10/12/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: status of event manager addresses.

                   Murieta
                   Equestrian
 10/12/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with J. Flanders re: document subpoenas for event
                                                 managers.
                   Murieta
                   Equestrian
 10/12/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to T. Brett re: bizonline status. Online search for other
                                                 methods to obtain agent for service of process information.
                   Murieta
                   Equestrian
 10/16/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Follow up call with T. Brett re: Federal Rule of Civil Procedure 45
                                                 subpoenas on event managers.
                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Search SoS websites for registered agents. Update subpoena forms
                                                 accordingly.
                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Esmeralda Bustos                                                                                       1.1    $218.00           $239.80                                    $0.00                                     0

                                                 Draft email to J. Flanders and T. Brett re: findings on registered agents
                                                 for horse event organizations.
                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.4    $218.00            $87.20                                    $0.00                                     0




                                                                                                             Page 33 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                              Page 37 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Live chat with Lexis support re: search for registered agent. Draft reply
                                                 email to J. Flanders re: service addresses needed for organizations.
                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Draft proof of service for notice of subpoenas and subpoena forms for
                                                 event managers.
                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Text message to T. Brett re: document subpoena service.

                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: updating subpoena forms and add
                                                 details to attachment A and plan to serve opposing counsel.
                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft follow up email to T. Brett and J. Flanders re: service of notice of
                                                 subpoenas and subpoenas.
                   Murieta
                   Equestrian
 10/18/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email to J. Flanders re: availability to serve document
                                                 subpoenas.
                   Murieta
                   Equestrian
 10/18/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Update attachment A. Draft notices of subpoena and revise proof of
                                                 service. Create pdfs of notice and subpoena for service on opposing
                   Murieta                       counsel.
                   Equestrian
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                        1.3    $218.00           $283.40                                    $0.00                                     0

                                                 Draft orders for service of document subpoenas on West Palms Event
                                                 Management, West Coast Equine Foundation and FoxFarms.
                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Draft email to J. Flanders and T. Brett updating on progress of document
                                                 subpoenas.
                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft service email to opposing counsel with notice and subpoena.

                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                             Page 34 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                                 Document 189-7                                                            Page 38 of 83
Date      Client   Matter     Staff              Description                                                               Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Teleconference with J. Flanders to discuss questions re: events
                                                 manager addresses and such.
                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: moving forward with event organization
                                                 subpoenas
                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Review Peggy Frackell skip trace report. Download and save to file.

                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: edits to attachment A for each event
                                                 manager.
                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft email to vendor to request skip tracing report on Peggy Frackell,
                                                 manager of Let's Show.
                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Telephone call and correspondence to J. Flanders re: pending subpoena
                                                 questions.
                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft email to ACE re: routing of order to Sacramento office.

                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Draft order to ACE for service of Let's Show document subpoena.

                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft service email of requests for production set seven to opposing
                                                 counsel. Calculate and calendar defendant's response deadline.
                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft service email to opposing counsel with Let's Show notice and
                                                 subpoena
                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0




                                                                                                           Page 35 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                              Page 39 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Update subpoena form and draft notice of subpoena. Draft proof of
                                                 service. Finalize forms for service on opposing counsel.
                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Draft Proof of Service for requests for production set seven. Draft email
                                                 to T. Brett re: requests for production requests.
                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Search for alternate address to serve Dale Harvey, registered agent for
                                                 West Palms Event Management. Draft email to T. Brett and J. Flanders
                   Murieta                       re: subp service next steps.
                   Equestrian
 10/23/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft email to ACE with instructions to serve Dale Harvey at Del Mar
                                                 Horse park.
                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email to ACE re: first attempt to serve West Palms Event
                                                 Management.
                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email to J. Flanders re: further service attempt on Dale
                                                 Harvey of West Palms Event Management.
                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Create spreadsheet for tracking of subpoenas

                   Murieta
                   Equestrian
 10/26/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Record vendor fees for service of subpoenas.

                   Murieta
                   Equestrian
 10/26/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Calendar deadlines from minute order at 106 re: informal telephonic
                                                 discovery conference.
                   Murieta
                   Equestrian
 10/26/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft reply emails to ACE re: attempted service on Peggy Frackell.

                   Murieta
                   Equestrian
 10/26/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                            Page 36 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                            EXHIBIT 1 Filed 04/18/25
                                                                                                      Document 189-7                                                        Page 40 of 83
Date      Client   Matter     Staff              Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Download and save to file docket 106.

                   Murieta
                   Equestrian
 10/26/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Download and save file proof of service for West Coast Equestrian
                                                 Foundation document subpoena.
                   Murieta
                   Equestrian
 10/27/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Draft email to J. Flanders re: filing of joint letter brief on 10/30/23.

                   Murieta
                   Equestrian
 10/27/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Download and save to file final joint statement. Create pdf of same and
                                                 efile. Download and save to file docket no. 107.
                   Murieta
                   Equestrian
 10/30/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Teleconference with J. Flanders re: filing of joint statement.

                   Murieta
                   Equestrian
 10/30/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Cancel calendar event for 11/01/23 telephonic discovery conference.
                                                 Download and save to file minute order 108 re: same.
                   Murieta
                   Equestrian
 10/31/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Attempt to obtain GCL certificate re: 11/3/23 site visit

                   Murieta
                   Equestrian
  11/1/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Submit request for GCL certificate for 11/3/23 site visit

                   Murieta
                   Equestrian
  11/1/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Review status of pending subpoena service on FoxFarms and Peggy
                                                 Fackrell.
                   Murieta
                   Equestrian
  11/2/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Extract page from Motion for Summary Judgment exhibit VV for J.
                                                 Flanders.
                   Murieta
                   Equestrian
  11/2/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60                                    $0.00                                     0




                                                                                                                Page 37 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                            Page 41 of 83
Date      Client   Matter     Staff              Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft reply email to J. Flanders re: current status of document subpoena
                                                 service
                   Murieta
                   Equestrian
  11/3/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft email to T. Brett and J. Flanders re: next steps to serve document
                                                 subpoena on FoxFarms.
                   Murieta
                   Equestrian
  11/6/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft reply email to ACE to maintain service order on FoxFarms open.
                                                 Follow email to J. Flanders and T. Brett re: same.
                   Murieta
                   Equestrian
  11/7/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Update tracking spreadsheet adding additional column for production
                                                 deadline. Draft reply email to T. Brett re: same.
                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Check order summary to confirm service of document subpoena on Let's
                                                 Show. Draft email to ACE re: proof of service. Text message to T. Brett
                   Murieta                       re: FoxFarms subpoena.
                   Equestrian
  11/8/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Download and save to file proof of service for Let's Show/Peggy Fackrell
                                                 document subpoena. Update tracking spreadsheet.
                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Draft email to ACE re: subpoena proof of service subject name.

                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Download and save to file video of 11/3/23 inspection

                   Murieta
                   Equestrian
  11/9/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Continue uploading video files from site inspection.

                   Murieta
                   Equestrian
  11/9/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Proofread requests for production set eight; draft proof of service.

                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60                                    $0.00                                     0




                                                                                                            Page 38 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                        Page 42 of 83
Date      Client   Matter     Staff              Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Record costs related to document subpoena service.

                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft service email with requests for production set 8 to opposing
                                                 counsel. Calculate and calendar response deadline.
                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft follow up email re: service of document subpoena on FoxFarms.

                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to J. Flanders and T. Brett re: closing order of subpoena
                                                 service on FoxFarms
                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Email ACE to close subpoena service order on FoxFarms.

                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Scan and save to file Let's show response and production.

                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Teleconference with T. Brett re: deposition scheduling on 12/4/23.

                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply to court reporter re: zoom link for deposition.

                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to court reporter to request coverage for 12/14/23 PMK
                                                 deposition.
                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Continue drafting pleading templates for motion

                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                   1.1    $218.00           $239.80                                    $0.00                                     0




                                                                                                               Page 39 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                             Page 43 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Edit declaration with details of discovery propounded by Plaintiffs since
                                                 August 2023.
                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.9    $218.00           $196.20                                    $0.00                                     0

                                                 Further edits to declaration template. Draft proposed order and create
                                                 declaration exhibit A.
                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.7    $218.00           $152.60                                    $0.00                                     0

                                                 Create addition exhibit to motion declaration. Begin reviewing discovery
                                                 served since 08/2023. Draft email to T. Brett re: discovery re: same.
                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Begin drafting pleading templates for motion

                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Draft reply email to J. Flanders re: additions to motion declaration.

                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Review local rules for guidance on setting hearing date. Calculate
                                                 compliance for first available date.
                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to courtroom deputy re: available dates for motion.

                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to J. Flanders request further instruction on drafting
                                                 declaration for motion.
                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to J. Flanders re: contacting Judge Barnes' courtroom deputy
                                                 for available motion dates.
                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Schedule teleconference with T. Brett to discuss discovery propounded
                                                 since 08/2023.
                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                             Page 40 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                               Page 44 of 83
Date      Client   Matter     Staff              Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Edit J. Flanders declaration per comments from J. Brett

                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Update calendar event for defendant's deadline to respond to ROGs, set
                                                 3
                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: discovery summary in J. Flanders
                                                 declaration and recommended edits.
                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Finalize motion papers for efiling. Efile motion. Download and save to file
                                                 docket entries of same. Calculate and calendar opposition and reply
                   Murieta                       deadlines.
                   Equestrian
  12/1/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Edit declaration and exhibit B.

                   Murieta
                   Equestrian
  12/1/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft email to courtroom deputy with native word version of proposed
                                                 order for motion to amend scheduling order.
                   Murieta
                   Equestrian
  12/1/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Call with J. Flanders re: PMQ deposition

                   Murieta
                   Equestrian
  12/5/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email to Planet Depos re: scheduling.

                   Murieta
                   Equestrian
  12/5/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Cancel court reporter coverage with Scarpelli. Email coverage request to
                                                 Planet Depos.
                   Murieta
                   Equestrian
  12/5/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Further culling of deposition exhibit documents

                   Murieta
                   Equestrian
  12/6/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.9    $218.00           $196.20                                    $0.00                                     0




                                                                                                            Page 41 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                       Page 45 of 83
Date      Client   Matter     Staff              Description                                                             Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Additional search to locate designated documents on Everlaw. Further
                                                 email to J. Flanders re: same.
                   Murieta
                   Equestrian
  12/6/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Begin collating designated deposition exhibit documents in Everlaw.

                   Murieta
                   Equestrian
  12/6/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Continue collating identified deposition exhibit documents

                   Murieta
                   Equestrian
  12/6/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Telephone call with Everlaw customer support for troubleshooting with
                                                 adding documents to binders.
                   Murieta
                   Equestrian
  12/6/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft follow up email to Planet deposition with requested scheduling
                                                 information.
                   Murieta
                   Equestrian
  12/6/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft email to Planet deposition re: distribution of link for remote
                                                 deposition.
                   Murieta
                   Equestrian
  12/8/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft email to T. Brett and J. Flanders asking if 12/14/23 deposition
                                                 would be moving forward.
                   Murieta
                   Equestrian
 12/12/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Upload to Planet Depos deposition exhibits for Cosumnes PMK

                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Emails with Planet deposition to resolve duplicate exhibit issue with
                                                 interrogatories Set 1. Merge defendant's interrogatory set 3 response
                   Murieta                       and verification; upload same to Planet Depo's SharePoint site.
                   Equestrian
 12/13/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Revise deposition exhibit of interrogatories set 1.

                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80                                    $0.00                                     0




                                                                                                              Page 42 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                             Page 46 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft email to Planet Depos with regards to sending deposition exhibits
                                                 to be used at tomorrow's of Cosumnes PMK deposition.
                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft reply email to J. Flanders re: exhibits for Cosumnes PMK
                                                 deposition.
                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with J. Flanders re: removing code designations from
                                                 documents in Everlaw exhibit binder.
                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft email to J. Flanders to alert re: deposition interrogatory response
                                                 exhibit that should have been replaced by Planet deposition.
                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Upload additional deposition exhibit to Planet deposition ShareFile site.

                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft email to Planet Depos for guidance on removing a duplicate exhibit
                                                 from their ShareFile site.
                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with Planet Depos to resolve issue with interrogatories
                                                 response exhibit.
                   Murieta
                   Equestrian
 12/14/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Telephone call and text messages with J. Flanders re: comms with
                                                 Planet deposition to replace incorrect interrogatories response exhibit.
                   Murieta
                   Equestrian
 12/14/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with J. Flanders re: Planet deposition link to deposition
                                                 exhibits
                   Murieta
                   Equestrian
 12/14/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Finalize reply to motion to amend scheduling order. Download and save
                                                 to file docket entry nos. 110 and 111.
                   Murieta
                   Equestrian
 12/19/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00           $65.40                                    $0.00                                     0




                                                                                                            Page 43 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                             Page 47 of 83
Date      Client   Matter     Staff              Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Download and save to file defendant's RFA, SPROGs, and requests for
                                                 production requests. Calculate and calendar response deadline. Add
                   Murieta                       same to master calendar.
                   Equestrian
 12/20/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Draft reply email to J. Flanders and T. Brett re: task to download
                                                 discovery requests served by defendant on 12/14/23.
                   Murieta
                   Equestrian
 12/20/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Further emails with Planet depos transcript department re: accessing
                                                 portal. Download PMQ exhibits and save copies to file.
                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.7    $218.00           $152.60                                    $0.00                                     0

                                                 Draft email to Planet Depos requesting coverage for remote deposition
                                                 on 1/5/24
                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save to file docket entry 112, order granting motion to
                                                 amend.
                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Create calendar event for 1/5/24 30(b)(6) deposition; forward meeting
                                                 link to opposing counsel.
                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email to T. Brett re: scheduling court reporter coverage for
                                                 1/5/24 deposition.
                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Email Planet Depos transcript department re: help access portal to
                                                 download exhibits.
                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save ACE invoice and record associate fees for attempts
                                                 to service document subpoena on FoxFarms, Inc.
                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Search defendant's production using parameters discussed with T. Brett;
                                                 input search data into corollary index/spreadsheet.
                   Murieta
                   Equestrian
   1/3/2024 CCKA   Center     Esmeralda Bustos                                                                                      2.3    $218.00           $501.40                                    $0.00                                     0




                                                                                                            Page 44 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                                Page 48 of 83
Date      Client   Matter     Staff              Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Teleconference with T. Brett to discuss search task of Defendant's
                                                 production.
                   Murieta
                   Equestrian
   1/3/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft reply email to Planet Depos confirming 1/5/24 booking and
                                                 providing requested deposition notice and opposing counsel email
                   Murieta                       addresses.
                   Equestrian
   1/3/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teams chat with J. Flanders re: assisting T. Brett with search of recent
                                                 production received from Defendants.
                   Murieta
                   Equestrian
   1/3/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download deposition exhibits for tomorrow's 30(b)(6) deposition then
                                                 upload to Planet Depos site.
                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Teleconference with T. Brett re: providing Court reporter with exhibits for
                                                 tomorrow's deposition.
                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Emails to T. Brett and J. Flanders re: link to tomorrow's deposition.
                                                 Upload additional exhibits to Planet Depos repository. Save copies of
                   Murieta                       same to internal exhibit folder.
                   Equestrian
   1/4/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Extract and organize profit and loss statements and balance sheets from
                                                 Defendant's production.
                   Murieta
                   Equestrian
   1/8/2024 CCKA   Center     Esmeralda Bustos                                                                                         1.1    $218.00           $239.80                                    $0.00                                     0

                                                 Further organize extract P&L statements and balance sheets. Draft
                                                 email to J. Shefftz with link to documents.
                   Murieta
                   Equestrian
   1/8/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Review prior order to serve Carol Ward Trust. Draft reply email to J.
                                                 Flanders re: new subpoena service order.
                   Murieta
                   Equestrian
   1/9/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to TT and J. Flanders requesting biographic info on Carol
                                                 Anderson.
                   Murieta
                   Equestrian
   1/9/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                            Page 45 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                            Page 49 of 83
Date      Client   Matter     Staff              Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Search beenverified for Carol Anderson Ward to obtain DOB info. Draft
                                                 reply email to ACE with info DOB info obtained from beenverified.
                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $0.00                                $43.60                                        0.2

                                                 Review carol ward skip trace report. Draft email to J. Flanders re: next
                                                 steps.
                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00           $65.40                                    $0.00                                      0

                                                 Draft email order to ACE to conduct skip trace on Carol Anderson Ward.

                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60                                    $0.00                                      0

                                                 Edit stipulation, adding proposed date for scheduling conference.

                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60                                    $0.00                                      0

                                                 Edit deposition subpoena form. Collate accompanying exhibits.

                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.4    $218.00           $87.20                                    $0.00                                      0

                                                 Teleconference with J. Flanders re: deposition subpoena for Carol
                                                 Anderson Ward.
                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                      0

                                                 Complete and submit scheduling request for court reporter coverage for
                                                 Carol Ward Anderson deposition on 2/9/24.
                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60                                    $0.00                                      0

                                                 Draft email order and instructions to ACE for service of deposition
                                                 subpoena on Carol Anderson Ward
                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00           $65.40                                    $0.00                                      0

                                                 Draft reply email to J. Flanders re: Federal Rule of Civil Procedure
                                                 45(a)(4) requiring notice and copy of subpoena to opposing counsel
                   Murieta                       before service.
                   Equestrian
  1/12/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80                                    $0.00                                      0

                                                 Update Carol Anderson Ward deposition subpoena form adding zoom
                                                 meeting link.
                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00           $65.40                                    $0.00                                      0




                                                                                                            Page 46 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                              Page 50 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft email to J. Flanders re: counsel for Carol Anderson Ward. Draft
                                                 email to Planet Depos requesting zoom link for 2/9/24 deposition.
                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft reply email to ACE confirming witness fees be advanced for Carol
                                                 Anderson Ward subpoena.
                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email to ACE re: status update on Carol Anderson Ward
                                                 service order.
                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to Planet Depos requesting invoices for job numbers 518034
                                                 and 520298.
                   Murieta
                   Equestrian
  1/17/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file Planet deposition invoices re: Maryann
                                                 Subbotin deposition. Pay invoices and record costs.
                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Draft proof of service. Add attachment label cover page Shefftz report.

                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Draft email to ACE to follow up on service attempt of Carol Anderson
                                                 Ward.
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: bates numbering task for production
                                                 scheduled to be served 1/23/24.
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email to T. Brett re: second attempt of service on Carol
                                                 Anderson Ward.
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email to T. Brett requesting status of Simpson expert report.

                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                            Page 47 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                              Page 51 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft email to T. Brett and J. Flanders re: deposition subpoena service
                                                 attempts on Carol Ward Anderson.
                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Format requests for admission set 1, RFP, set 3 and ROG, set 2
                                                 responses. Draft accompanying proof of service. Add bates numbering
                   Murieta                       to designated requests for production .
                   Equestrian
  1/23/2024 CCKA   Center     Esmeralda Bustos                                                                                       1.0    $218.00           $218.00                                    $0.00                                      0

                                                 Finalize interrogatories set 2, requests for admission set 1 and requests
                                                 for production set 3 responses. Upload requests for production to
                   Murieta                       Dropbox for sharing with opposing counsel.
                   Equestrian
  1/23/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.6    $218.00           $130.80                                    $0.00                                      0

                                                 Revise proof of service and check Dropbox link for production
                                                 documents. Draft service email to opposing counsel with RFA set 1,
                   Murieta                       RFP set 3 and SROGs set 2 responses.
                   Equestrian
  1/23/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                      0

                                                 Teleconference with T. Brett re: requests for production response bates
                                                 number and finalizing SPROGs and requests for admission for service
                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $21.80                                $21.80                                        0.1

                                                 Further telephone comms with T. Brett re: status of RFA, requests for
                                                 production and SPROGs for service.
                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Draft reply email to JTB re: subpoena service on Carol Anderson Ward
                                                 Sacramento address.
                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Draft email to ACE to submit new order for service on Carol Anderson
                                                 Ward's Second Amended Complaintramento address.
                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Download and save to file ACE invoice no. 575643. Record costs for
                                                 skip trace report on Carol Anderson Ward.
                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Draft reply email to T. Brett re: further attempts of subpoena service on
                                                 Carol Anderson Ward at her addresses in Sacramento and TX.
                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0




                                                                                                            Page 48 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                           Page 52 of 83
Date      Client   Matter     Staff              Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft reply email to T. Brett re: costs associate with subpoena service
                                                 attempts.
                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Further revising of deposition subpoena for Carol Anderson Ward,
                                                 adding exhibit B. Email updated draft to T. Brett for review.
                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.6    $218.00           $130.80                                    $0.00                                     0

                                                 Download and save to file copies of invoices from Planet Depos (638887
                                                 and 638888). Pay invoices and record costs. Save copies of receipts to
                   Murieta                       file.
                   Equestrian
  1/25/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Teleconference with T. Brett re: amending Carol Ward Anderson
                                                 subpoena to replace the one currently ACE is attempting to serve.
                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Continue revising deposition subpoena of Carol Ward Anderson

                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Forward to J. Flanders and T. Brett email with status update on first
                                                 attempt to serve deposition subpoena on Carol Ward Anderson at Carter
                   Murieta                       Rd. address.
                   Equestrian
  1/25/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Call with T. Brett re: revisions to subpoena to include California
                                                 Coastkeeper Alliance offices as location for depo
                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Incorporate T. Brett edits to amended subpoena. Draft email to ACE with
                                                 instructions to serve amended version of subpoena.
                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Edit Carol Ward Anderson deposition subpoena form, adding court
                                                 designation. Email Austin Process the updated version of subpoena,
                   Murieta                       then post prepayment.
                   Equestrian
  1/31/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Draft email order to Austin Process for service of deposition subpoena
                                                 on Carol Anderson Ward in Weatherford, TX.
                   Murieta
                   Equestrian
  1/31/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0




                                                                                                             Page 49 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                           Page 53 of 83
Date      Client   Matter     Staff              Description                                                               Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft reply email to Austin Process confirming to advance required
                                                 witness fee.
                   Murieta
                   Equestrian
  1/31/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Draft email to Austin Process for quote on rush service of deposition
                                                 subpoena.
                   Murieta
                   Equestrian
  1/31/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft reply email to ACE to close service order for Carol Ward Anderson
                                                 at her Sacramento address.
                   Murieta
                   Equestrian
  1/31/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: attempting deposition subpoena service
                                                 on Carol Ward Anderson in TX.
                   Murieta
                   Equestrian
  1/31/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: task to reserve conference room for
                                                 expert deposition at Sheraton Bradley airport hotel in Hartford, CT for
                   Murieta                       2/13/24.
                   Equestrian
   2/2/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Contact Planet Depos to reschedule Carol Ward Anderson deposition
                                                 from 2/9/24 to 3/8/24; email Planet Depos IT support re: zoom link for
                   Murieta                       3/8/24.
                   Equestrian
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Phone call to Sheraton Bradley airport hotel to inquire on conference
                                                 room for about 6 people on 2/13/24 for all day deposition of expert.
                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Begin editing subpoena form, updating deposition date and deposition
                                                 zoom link
                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Add new deposition zoom link to subpoena for Carol Anderson Ward.
                                                 Email TX process server revised version of subpoena for service.
                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Draft email to TX process server requesting hold on further service
                                                 attempts on Carol Anderson Ward due to new deposition date.
                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00           $43.60                                    $0.00                                     0




                                                                                                            Page 50 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                                Page 54 of 83
Date      Client   Matter     Staff              Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft follow up email to process server re: further service attempts on
                                                 Carol Ward Anderson.
                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Correspondence with T. Brett concerning conference room reservation
                                                 and communicating with TX process server re: further service attempts
                   Murieta                       on Carol Ward Anderson.
                   Equestrian
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: reserving conference room, flight and
                                                 lodging for 2/13/24 deposition
                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone call with Sheraton hotel sales rep re: conference room
                                                 reservation for 2/13/24
                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: flight and hotel reservations for 2/13/24
                                                 deposition.
                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: app for alternative service, chron history
                                                 of service attempts with email comms of same. declaration from J.
                   Murieta                       Flanders/T Brett. use prior declaration as guide. note subp with 3/8/24
                   Equestrian                    date. by COB Thurs.
   2/6/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Call with T. Brett re: drafting deposition notice for Carol Anderson Ward
                                                 subpoena
                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft T. Brett declaration template re: alternative service of subpoena on
                                                 Carol Anderson Ward.
                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.9    $218.00           $196.20                                    $0.00                                     0

                                                 Compile and save to file emails from process servers re: deposition
                                                 service attempts made on Carol Anderson Ward in Sloughhouse,
                   Murieta                       Sacramento, and Weatherford, TX.
                   Equestrian
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Further editing of declaration per T. Brett comments.

                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.4    $218.00            $87.20                                    $0.00                                     0




                                                                                                            Page 51 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                               Page 55 of 83
Date      Client   Matter     Staff              Description                                                                    Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft email order to ACE requesting rush service of Carol Anderson
                                                 Ward deposition subpoena at Murieta Equestrian Center facility on 7200
                   Murieta                       Lone Pine Drive.
                   Equestrian
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Further edits to declaration template; download and save to file email
                                                 from Austin Process server re: 2/7/24 service attempt of revised
                   Murieta                       deposition subpoena.
                   Equestrian
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Download and save to file Notice of Errata re: Finance PMQ deposition.

                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Save to file further email from Austin Process server re: service attempt
                                                 on 2/1/24 (bad address).
                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: incorporating further detail to declaration
                                                 re: service attempts.
                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft reply email to T. Brett re: addresses where servers have attempted
                                                 to serve Carol Anderson Ward.
                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Edit declaration per T. Brett text message; incorporate ACE attempt to
                                                 serve Carol Anderson Ward today at 7200 Lone Pine address.
                   Murieta
                   Equestrian
   2/8/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Draft email to ACE requesting clarification on today's service attempt at
                                                 7200 Lone Pine facility re: Carol Anderson Ward subpoena.
                   Murieta
                   Equestrian
   2/8/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Reply to T. Brett text message request to update declaration in support
                                                 of motion for alternative service
                   Murieta
                   Equestrian
   2/8/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft reply to ACE Sacramento service of process unit regarding the
                                                 attempt to serve Carol Anderson Ward.
                   Murieta
                   Equestrian
   2/8/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00           $21.80                                    $0.00                                     0




                                                                                                             Page 52 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                               Page 56 of 83
Date      Client   Matter     Staff              Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft follow up email to ACE regarding the service attempt on Carol
                                                 Anderson Ward at 7200 Lone Pine address.
                   Murieta
                   Equestrian
   2/8/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Further teleconference with T. Brett re: draft declaration in support of
                                                 motion for alternative service.
                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: service dates of Jan and Feb subpoenas

                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft emails to T. Brett re: deposition subpoena service order in CA and
                                                 TX for Carol Anderson Ward.
                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email to ACE instructing no further attempts needed on Carol
                                                 Ward Anderson at the Lone Pine address.
                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Proof and finalize requests for admission set 2, interrogatories set 4, and
                                                 requests for production set 9 devices for service. Draft proof of service
                   Murieta                       for same.
                   Equestrian
  2/13/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Download and save to file email status updates from TX server and ACE
                                                 re: Lone Pine address. Draft email to T. Brett re: further service attempts
                   Murieta                       in TX.
                   Equestrian
  2/13/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft service email to opposing counsel with requests for admission set
                                                 2, requests for production set 9, and interrogatories set 4 requests.
                   Murieta                       Calculate and calendar defendant's response due date.
                   Equestrian
  2/13/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email to TX process server instructing to close order and
                                                 desist from further attempts at service of the deposition subpoena on
                   Murieta                       Carol Anderson Ward.
                   Equestrian
  2/13/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teams comms with J. Flanders re: service of discovery requests to
                                                 defendant
                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                             Page 53 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                           EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                            Page 57 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Download and save to file invoice from Austin Process Service for
                                                 attempted service of Carol Anderson Ward deposition subpoena. Pay
                   Murieta                       associated invoice.
                   Equestrian
  2/14/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Draft email to J. Flanders re: expert rebuttal deadline on calendar for
                                                 2/16/24
                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Draft email to T. Brett re: service/filing of Phase II expert rebuttals

                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Submit cancellation request to Planet Depos for coverage of 3/8/24
                                                 Carol Anderson Ward deposition
                   Murieta
                   Equestrian
  2/28/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Download and save to file ACE invoice no. 9008626. Submit payment to
                                                 ACE. Service attempts of deposition subpoena on Carol Anderson Ward
                   Murieta                       at 7200 Lone Pine Dr.
                   Equestrian
   3/4/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Teleconference with T. Brett to provide credit card info for payment of
                                                 hotel reservation for deposition in CT.
                   Murieta
                   Equestrian
  3/19/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Review court orders to confirm phase II deadlines. Draft email to T. Brett
                                                 re: 3/29/24 expert rebuttal deadline.
                   Murieta
                   Equestrian
  3/21/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Review email comms between J. Flanders and opposing counsel re:
                                                 extension of discovery deadlines. Calendar imminent deadlines noted in
                   Murieta                       the email.
                   Equestrian
  3/22/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Begin preparing certified mailing envelopes for service of NOI

                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Continue preparing service envelopes of notice letter to government
                                                 entities and Carol Anderson Ward addresses
                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00           $87.20                                    $0.00                                     0




                                                                                                               Page 54 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                     Document 189-7                                                             Page 58 of 83
Date      Client   Matter     Staff              Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft email to T. Brett re: timing of service of Carol Anderson Ward NOI.

                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Format and edit notice letter for service. Confirm and update service list
                                                 contacts. Draft email to T. Brett re: client contact information.
                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.9    $218.00           $196.20                                    $0.00                                     0

                                                 Review draft Carol Anderson Ward NOI. Draft email to T. Brett re: notice
                                                 letter format.
                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Teleconference with T. Brett re: client access to Carol Anderson Ward
                                                 notice letter and plan to serve same.
                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: edits to incorporate in to draft NOI

                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Further edits to Carol Ward Anderson Ward NOI

                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Email calendar invite for first day to file complaint.

                   Murieta
                   Equestrian
  3/26/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Print service copies of notice letter and finish prepare mailing envelopes.
                                                 Print postage for notice letter mailing to government agencies.
                   Murieta
                   Equestrian
  3/26/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.8    $218.00           $174.40                                    $0.00                                     0

                                                 Travel to/from USPS post office to send Carol Anderson Ward notice
                                                 letter via certified mail. Scan and save to file USPS receipt and certified
                   Murieta                       mail receipts.
                   Equestrian
  3/26/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Draft reply to J. Flanders re: schedule to file motion for leave and motion
                                                 for summary judgment next week.
                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                             Page 55 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                             EXHIBIT 1 Filed 04/18/25
                                                                                                       Document 189-7                                                            Page 59 of 83
Date      Client   Matter     Staff              Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft email to J. Flanders re: status to of Anderson Ward Trust notice for
                                                 service today.
                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Finalize and print service copies of notice to Carol Anderson Ward Trust.
                                                 Prepare mailing envelopes and certified mailing envelopes.
                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Esmeralda Bustos                                                                                          1.2    $218.00           $261.60                                    $0.00                                     0

                                                 Calculate and calendar date to file complaint against Anderson Ward
                                                 Trust.
                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Scan and save to file USPS receipt and certified mail receipts for Carol
                                                 Ward Anderson Trust notice of intent
                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Travel to/from USPS to mail certified mailings of notice to Carol
                                                 Anderson Ward Trust.
                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.7    $218.00           $152.60                                    $0.00                                     0

                                                 Draft reply email to T. Trillo re: date calculation for first day to file
                                                 complaint against Carol Anderson Ward Trust.
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Review Eastern District of California local rule 141(b) to confirm T. Trillo
                                                 findings on preparing and serving a Request to Seal Documents.
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Teams comms with T. Trillo re: 3/26/24 and 4/1/24 service of notice of
                                                 intent to Carol Ward Anderson and Carol Ward Anderson Trust.
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with J. Flanders to for further instructions re: MPA
                                                 pleading assignment.
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to J. Flanders summarizing local rule 141(b) on submitting
                                                 notice and request to seal documents.
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.5    $218.00           $109.00                                    $0.00                                     0




                                                                                                                  Page 56 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                             Page 60 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Format motion to leave MPA and create separate pleading for notice of
                                                 motion and motion for leave.
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Teleconference with T. Trillo re: adding language to notice of motion re:
                                                 documents being filed under seal.
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Draft reply email T. Trillo re: status of Motion for Summary Judgment
                                                 motion papers and tasks needing attention.
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft reply email to J. Flanders re: preparing notice of deposition for
                                                 James W. McCurley and procuring court reporter coverage for same.
                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft reply to First Legal providing estimate of 4 hours of court reporter
                                                 coverage needed.
                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft notice of deposition for James W. McCurley

                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Format and edit draft deposition notice of James W. McCurley per T.
                                                 Brett email
                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Draft email inquiry to Sue Hammer of First Legal to inquire on court
                                                 reporter availability for 4/12/24 James W. McCurley deposition.
                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Follow up Teams communications with T. Trillo re: filing and submitting
                                                 motion for leave and request to seal.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Teams communications with T. Trillo re: draft service email to opposing
                                                 counsel for service of Motion for Leave to File Third Amended Complaint
                   Murieta                       and supporting documents.
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00           $65.40                                    $0.00                                     0




                                                                                                             Page 57 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                                 Document 189-7                                                               Page 61 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Calendar James W. McCurley deposition for 4/12/24 @ 9:30 am.

                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file docket 113, notice of motion and motion for
                                                 leave to file 3d amended complaint; docket 114, notice of request to seal
                   Murieta                       documents.
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to Magistrate Barnes' submitting request to seal, proposed
                                                 order and all documents to be covered by the request.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Comms with T. Brett re: Flander's email requesting updated rain charts
                                                 using stations from exhibit with his Motion for Summary Judgment
                   Murieta                       declaration.
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download data from Rancho Cordova stations for 2019 to present and
                                                 create rain table; email pdf table to J. Flanders.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.6    $218.00           $130.80                                    $0.00                                     0

                                                 Draft email to J. Flanders outlining all steps taken to submit and file
                                                 notice of request to seal documents and the request to seal documents.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft service email to opposing counsel with notice of deposition for
                                                 James W. McCurley.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft test mail to TT to ensure no delivery issues of Request to Seal
                                                 documents. Draft service email to opposing counsel with request to seal
                   Murieta                       documents.
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Review J. Flanders email with request to update rain charts previously
                                                 submitted as exhibit to Motion for Summary Judgment.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: weather station to use for creation of
                                                 rain table and status of 3d amended complaint for inclusion in request to
                   Murieta                       seal.
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                           Page 58 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                             Page 62 of 83
Date      Client   Matter     Staff              Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Teleconference with T. Trillo to evaluate correct ECF event for filing
                                                 notice of motion for leave to file 3d amended complaint.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Begin formatting/editing request to seal and motion for leave papers in
                                                 preparation for submitting to the court.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       1.2    $218.00           $261.60                                    $0.00                                      0

                                                 Draft reply email to J. Flanders re: weather station to use for creating
                                                 updated rain table.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Teams comms with T. Trillo confirming the documents to be emailed to
                                                 the court when submitting the Request to Seal.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $21.80                                $21.80                                        0.1

                                                 Teleconference with T. Brett re: 3d amended complaint as exhibit to his
                                                 declaration and to notice of motion.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Teleconference with T. Brett re: updates to notice of motion and revised
                                                 exhibits to his declaration, Q & R.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Update exhibits and declaration of T. Brett in support of MPA and in prep
                                                 for service on opposing counsel and submission of request to seal to the
                   Murieta                       court.
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.8    $218.00           $174.40                                    $0.00                                      0

                                                 Edit McCurly notice of deposition per J. Flanders comments. Draft email
                                                 to First Legal with copy of deposition notice to secure court reporter
                   Murieta                       coverage on 4/12/24.
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Draft proof of service for J. McCurley notice of deposition.

                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Continue extracting exhibits for SUF Phase II Motion for Summary
                                                 Judgment.
                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40                                    $0.00                                      0




                                                                                                             Page 59 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                               Page 63 of 83
Date      Client   Matter     Staff              Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Comms with T. Brett re: exhibits of Wren declaration and Wren expert
                                                 report.
                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Teleconference with T. Brett to discuss assignment to extract documents
                                                 related to Phase II SUF.
                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Begin extracting exhibits for SUF Phase II Motion for Summary
                                                 Judgment.
                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Esmeralda Bustos                                                                                         1.3    $218.00           $283.40                                    $0.00                                     0

                                                 Comms with T. Brett re: further exhibits to extract for Phase II Motion for
                                                 Summary Judgment.
                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save further exhibits related to Phase II SUF.

                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Finalize bates numbering of Phase I facts & evidence exhibits.

                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Rename exhibit file names for organizing and bates numbering. Add
                                                 bates number to identified exhibits.
                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.8    $218.00           $174.40                                    $0.00                                     0

                                                 Scan and save to file pdf copies of notice letter return receipts

                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with J. Flanders re: organizing and bates stamping
                                                 Flanders declaration exhibit A.
                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Further extract exhibits for Flanders declaration. Draft Flanders
                                                 declaration template.
                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Esmeralda Bustos                                                                                         1.3    $218.00           $283.40                                    $0.00                                     0




                                                                                                             Page 60 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                                Page 64 of 83
Date      Client   Matter     Staff              Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Teleconference with T. Brett re: extracting additional exhibit from J.
                                                 Flanders declaration and drafting new J. Flanders declaration in support
                   Murieta                       of Phase II Motion for Summary Judgment.
                   Equestrian
   4/9/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Further extract exhibit for facts and evidence exhibit; add bates
                                                 numbers. Combine all facts and evidence exhibits into one pdf exhibit A.
                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Organize and label Flanders declaration exhibits B-R in preparation for
                                                 Motion for Summary Judgment efiling.
                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.9    $218.00           $196.20                                    $0.00                                     0

                                                 Teleconference with T. Brett re: adding further exhibit to facts & evidence
                                                 compilation.
                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: Flanders ask to create pdf of exhibit A
                                                 compilation
                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: lodging video exhibits Q & R to Flanders
                                                 declaration
                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Remove embedded hyperlinks from exhibit Q & R placeholder pdfs.

                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to Green Copy providing instructions and link to McCurley
                                                 exhibits for printing.
                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Telephone call to Green Copy to post payment for print job of McCurley
                                                 exhibits.
                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone call with Green copy to confirm receipt of link with McCurley
                                                 exhibits for printing.
                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                            Page 61 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                               Page 65 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Comms with J. Flanders re: status of MPA for tables.

                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Comms with T. Brett re: placeholder pdfs for video exhibits Q & R.

                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Draft notice of lodging for video exhibits Q & R to Flanders declaration.

                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20                                    $0.00                                      0

                                                 Format/edit MPA; conduct cite checks of same.

                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Esmeralda Bustos                                                                                        1.6    $218.00           $348.80                                    $0.00                                      0

                                                 Run and add table of contents and authorities.

                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.5    $218.00           $109.00                                    $0.00                                      0

                                                 Evaluate compressed pdf version of Flanders declaration exhibit A for
                                                 efiling.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                      0

                                                 Prepare and print FedEx label for shipping of notice of lodging with flash
                                                 drive containing Flanders declaration exhibits Q & R.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                      0

                                                 Save Flanders declaration video exhibits Q & R to flash drive for lodging
                                                 with court.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Teleconference with T. Brett re: compressed pdf of exhibit A and tasks to
                                                 finish for filing of Motion for Summary Judgment.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $21.80                                $21.80                                        0.1

                                                 Compress Flanders declaration exhibit A to conform to ECF file size
                                                 guidelines.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                      0




                                                                                                            Page 62 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                               Page 66 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Comms with T. Brett testing solutions to reduce file size of Flanders
                                                 declaration exhibit A.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.6    $218.00           $130.80                                    $0.00                                     0

                                                 Extract lease agreement from defendant's production and email to J.
                                                 Flanders for use in deposition.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with J. Flanders re: extracting lease document between
                                                 Murieta Equestrian Center and Carol Anderson Ward.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: discussion with J. Flanders to resolve
                                                 file size of declaration exhibit A.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Test uploading compress pdf of Flanders declaration exhibit A to ECF.
                                                 Telephone call to Eastern district ECF help desk.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Travel to/from FedEx to drop off package with docket 117, notice of
                                                 lodging and USB flash drive with exhibits Q & R.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.7    $218.00           $152.60                                    $0.00                                     0

                                                 Create final filing versions of Motion for summary judgment, Statement
                                                 of Undisputed Facts, Flanders declaration and notice of lodging then efile
                   Murieta                       same via ECF.
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Create pdf version of revised rain data table as exhibit to Flanders
                                                 declaration.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Further edits to Statement of undisputed facts, implementing updates to
                                                 citations to Flanders declaration exhibit A.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Implement formatting updates to declaration, Memorandum of points and
                                                 authorities, and Statement of Undisputed face.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        1.2    $218.00           $261.60                                    $0.00                                     0




                                                                                                            Page 63 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                              Page 67 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Teleconference with T. Brett re: revising cites to Flanders declaration in
                                                 Statement of undisputed facts.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: appropriate ECF event to file Flanders
                                                 declaration and exhibits.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: replacing Flanders declaration exhibit S.

                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: steps/tasks to finalize Motion for
                                                 summary judgment in preparation for filing.
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Download and save to file docket entries 115-117, Motion for Summary
                                                 Judgment, Flanders declaration and notice of lodging.
                   Murieta
                   Equestrian
  4/15/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Calculate and calendar opposition and reply deadlines for Motion to
                                                 Seal.
                   Murieta
                   Equestrian
  4/15/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Teleconference with T. Brett re: opposition and reply deadlines for
                                                 Motion to Seal and Motion for Summary Judgment.
                   Murieta
                   Equestrian
  4/15/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft email to Planet Depos re: payment status of invoices 638887 and
                                                 638888.
                   Murieta
                   Equestrian
  4/17/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Evaluate invoices to client and status of invoice payments to Planet
                                                 Depos and GSI. Download and save to file GSI invoices.
                   Murieta
                   Equestrian
  4/17/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Save to file receipts for payment to Planet Depos for invoices 638887
                                                 and 638888. Draft email to J. Flanders re: payment of same.
                   Murieta
                   Equestrian
  4/17/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0




                                                                                                            Page 64 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                                Page 68 of 83
Date      Client   Matter     Staff              Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Research local rules re: motion opposition and reply. Calendar Motion
                                                 for Summary Judgment and Motion for Leave. Calculate and calendar
                   Murieta                       opposition and reply deadlines for same.
                   Equestrian
  4/17/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.6    $218.00           $130.80                                    $0.00                                     0

                                                 Scan and save to file USPS return receipts for Carol Ward Anderson
                                                 notice of intent.
                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Teleconference with T. Brett re: Motion in Limine MPA tasks in
                                                 preparation for efiling.
                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Begin formatting Motion in Limine MPA.

                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Continue cite checking Motion in Limine MPA; incorporate table of
                                                 contents and table of authorities. Finalize in MPA and T. Brett declaration
                   Murieta                       in preparation for efiling.
                   Equestrian
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                         1.4    $218.00           $305.20                                    $0.00                                     0

                                                 Continue formatting. Begin cite checking Motion in Limine MPA.

                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                         1.3    $218.00           $283.40                                    $0.00                                     0

                                                 Draft email to supervising courtroom deputy to resolve date issue re:
                                                 motion in limine hearing.
                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email and teams comms with T. Brett re: Motion in Limine
                                                 MPA tables of contents and authorities.
                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Efile Motion in Limine. Draft email to Judge Barnes courtroom deputy to
                                                 resolve incorrect hearing date selected during ECF filing.
                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Teleconference with T. Brett re: inclusion of case cite in Motion in Limine
                                                 MPA.
                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                            Page 65 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                                 Document 189-7                                                                Page 69 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Call with T. Brett re: supplemental production to Defendant's Requests
                                                 for Production set 3
                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file docket entries 118 (motion of limine) and 119
                                                 (defendant's opposition to Motion for Leave).
                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Create version of Statement of Undisputed Facts without metadata for
                                                 sharing with opposing counsel.
                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft email to opposing counsel with copy of requested native version of
                                                 statement of undisputed facts.
                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Further comms with T. Brett summarizing details of telephone call with
                                                 CA Eastern District clerk re: resolving Motion Limine hearing date error.
                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teams comms with T. Brett re: Judge Barnes' email instructing to file a
                                                 notice to reschedule Motion for MIL hearing to 5/24/24/.
                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: task assignments. Email opposing
                                                 counsel native word version of statement of undisputed facts and
                   Murieta                       finalizing supplemental production in prep for service. production
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone call with CA Eastern District clerk re: motion in limine hearing
                                                 date error.
                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Calculate and calendar motion in limine hearing opposition and reply
                                                 deadlines. Add motion for summary judgment and motion for leave
                   Murieta                       deadlines to master case list.
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Add bates number to requests for production set 3 responses/production

                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.6    $218.00           $130.80                                    $0.00                                     0




                                                                                                           Page 66 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                                 Document 189-7                                                             Page 70 of 83
Date      Client   Matter     Staff              Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Copy and rename videos designated for requests for production set 2
                                                 supplemental production.
                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                     1.0    $218.00           $218.00                                    $0.00                                     0

                                                 Upload requests for production set supplemental production to Dropbox
                                                 in preparation for service on opposing counsel.
                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.9    $218.00           $196.20                                    $0.00                                     0

                                                 Follow up call with T. Brett re: service of supplemental document
                                                 production in response to Request for Production Set 2 and 3
                   Murieta
                   Equestrian
  4/23/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with T. Brett re: service of supplemental requests for
                                                 production set 2 and set 3 production.
                   Murieta
                   Equestrian
  4/23/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Create view only Dropbox link to share with opposing counsel for
                                                 supplemental requests for production , set two. Update proof of service
                   Murieta                       with same link.
                   Equestrian
  4/23/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Draft service email to opposing counsel with supplemental productions
                                                 to requests for production set two and set three.
                   Murieta
                   Equestrian
  4/23/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save to file docket entry 120, stipulation to extend Phase
                                                 II motion opposition and reply deadlines.
                   Murieta
                   Equestrian
  4/26/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save to file McCurley deposition transcript and exhibits.

                   Murieta
                   Equestrian
  4/29/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file docket entry acknowledging receipt of USB
                                                 flash drive with exhibits Q & R of Flanders declaration at docket entry
                   Murieta                       116.
                   Equestrian
  4/30/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save to file docket entries 121 and 122. Calendar
                                                 extended deadlines from order at docket 122 re: motion for summary
                   Murieta                       judgment.
                   Equestrian
  4/30/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0




                                                                                                           Page 67 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                             Page 71 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft email to S. Her, courtroom deputy, re: procedure for requesting
                                                 remote appearance by zoom for 5/10/24 motion for leave hearing.
                   Murieta
                   Equestrian
   5/1/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Draft request for remote appearance.

                   Murieta
                   Equestrian
   5/1/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Download and save to file docket entry 123, Request for remote
                                                 appearance.
                   Murieta
                   Equestrian
   5/2/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Efile request for remote appearance.

                   Murieta
                   Equestrian
   5/2/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Finalize request for remote appearance in preparation for efiling.

                   Murieta
                   Equestrian
   5/2/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Download and save to file docket 125, order granting stipulation re:
                                                 Phase II briefing deadlines.
                   Murieta
                   Equestrian
   5/6/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Download and save to file docket entry 126, order continued motion to
                                                 amend hearing to 5/24/24l
                   Murieta
                   Equestrian
   5/6/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Draft email to courtroom deputy S. Her re: hearing date discrepancies in
                                                 ECF orders at 125 and 126.
                   Murieta
                   Equestrian
   5/6/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Draft email to J. Flanders re: conflict in orders with regarding to Motion
                                                 for Summary Judgment, MIL and Motion to Amend hearing dates.
                   Murieta
                   Equestrian
   5/6/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Update calendar to set Motion for Summary Judgment, motion to amend
                                                 and motion in limine hearing for 5/31/24.
                   Murieta
                   Equestrian
   5/7/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0




                                                                                                             Page 68 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                               Page 72 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Download and save to file docket entry 127, minute order. Update
                                                 calendar events for MIL deadlines.
                   Murieta
                   Equestrian
   5/8/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Download and save to file First Legal Depositions Invoice #108606.
                                                 Download and complete credit card payment form and email to First
                   Murieta                       Legal.
                   Equestrian
   5/8/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Download and save to file docket entries 128 and 129, stipulation and
                                                 order to extend briefing deadlines and hearing.
                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Audit case costs. Locate and save to file invoices that had not been
                                                 uploaded.
                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Esmeralda Bustos                                                                                        1.7    $218.00           $370.60                                    $0.00                                     0

                                                 Calendar extended briefing deadlines for MIL and Motion for Summary
                                                 Judgment from order 129.
                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Download and save to file pdf docket from ECF of all case docket
                                                 entries.
                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to J. Flanders re: prior invoices from Ian Wren for previously
                                                 rendered technical services.
                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Calendar deadline to submit mediation briefs; calendar event for 5/17/24
                                                 mediation.
                   Murieta
                   Equestrian
  5/14/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Begin organizing folders and papers re: motion in limine, motion for leave
                                                 and phase II Motion for Summary Judgment documents for hearing
                   Murieta                       binder.
                   Equestrian
  5/14/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Post payment to Judicate West for 5/17/24 mediation services.

                   Murieta
                   Equestrian
  5/14/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                            Page 69 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                            Page 73 of 83
Date      Client   Matter     Staff              Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Teams comms with J. Flanders confirming 5/17/24 mediation still on
                                                 calendar as planned.
                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file further invoices from Judicate West re:
                                                 mediation conduction on 5/17/24. Post payment to same, save payment
                   Murieta                       receipts, and record costs.
                   Equestrian
  5/23/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Review Shefftz invoices to determine status of payment.

                   Murieta
                   Equestrian
  5/23/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save to file docket entry 131, joint stipulation to extend
                                                 briefing deadlines.
                   Murieta
                   Equestrian
  5/30/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply email to T. Brett re: payment of Judicate West invoices.

                   Murieta
                   Equestrian
  5/31/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file docket entry 132, order re: modifying briefing
                                                 schedule. Calendar updated deadlines.
                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download defendant's Statement of Undisputed Facts filed at docket
                                                 133. Draft email to opposing counsel to request native word version of
                   Murieta                       same.
                   Equestrian
  6/10/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft reply email to J. Flanders re: draft reply templates for motion in
                                                 limine and Motion for Summary Judgment.
                   Murieta
                   Equestrian
  6/10/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft reply templates for motion in limine and Motion for Summary
                                                 Judgment
                   Murieta
                   Equestrian
  6/10/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.7    $218.00           $152.60                                    $0.00                                     0

                                                 Download and save to file docket entries 133 to 135, defendants
                                                 opposition to Motion for Summary Judgment and motion in limine.
                   Murieta
                   Equestrian
  6/11/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60                                    $0.00                                     0




                                                                                                             Page 70 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                                Page 74 of 83
Date      Client   Matter     Staff              Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Download and save to file defendant's native word version of statement
                                                 of undisputed facts.
                   Murieta
                   Equestrian
  6/11/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Efile response to defendant's ex parte application to extend motion in
                                                 limine briefing schedule.
                   Murieta
                   Equestrian
  6/11/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Finalize response to ex parte application to extend motion in limine
                                                 briefing schedule in preparation for efiling.
                   Murieta
                   Equestrian
  6/11/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Calendar internal reminder for early August to contact court to request
                                                 MIL hearing date.
                   Murieta
                   Equestrian
  6/12/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file docket 138, minute order re: ex parte.
                                                 Calendar extended briefing deadlines for motion in limine. Teams
                   Murieta                       comms with T. Brett re: Motion for Summary Judgment hearing
                   Equestrian                    remaining on 6/28/24.
  6/12/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Continue archiving motion to amend and motion for summary judgment
                                                 papers in preparation for hearing.
                   Murieta
                   Equestrian
  6/13/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.7    $218.00           $152.60                                    $0.00                                     0

                                                 Draft reply email to J. Flanders re: status of motion papers for printing in
                                                 preparing for 6/28/24 hearing.
                   Murieta
                   Equestrian
  6/13/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Begin cite checking reply brief in support of Motion for Summary
                                                 Judgment.
                   Murieta
                   Equestrian
  6/17/2024 CCKA   Center     Esmeralda Bustos                                                                                          1.1    $218.00           $239.80                                    $0.00                                     0

                                                 Begin formatting reply brief in preparation for adding table of authorities
                                                 and table of contents.
                   Murieta
                   Equestrian
  6/17/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Efile reply brief in support of Phase II motion for summary judgment and
                                                 response and objections to defendant's statement of undisputed facts.
                   Murieta
                   Equestrian
  6/17/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00            $43.60                                    $0.00                                     0




                                                                                                             Page 71 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                              Page 75 of 83
Date      Client   Matter     Staff              Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Finalize reply brief table of contents and table of authorities and SUF
                                                 response in preparation for efiling.
                   Murieta
                   Equestrian
  6/17/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.4    $218.00            $87.20                                    $0.00                                     0

                                                 Further edits to reply brief table of contents and table of authorities.

                   Murieta
                   Equestrian
  6/17/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Telephone call with T. Trillo re: preparation of hearing binder.

                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone call with Green Copy to pay for motion for summary judgment
                                                 hearing on 6/28/24. Download, save to file and record copies costs.
                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Draft email order to Green Copy with documents for 6/28/24 hearing
                                                 binder.
                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Implement changes identified by J. Flanders to documents for 6/28/24
                                                 hearing binder.
                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.8    $218.00           $174.40                                    $0.00                                     0

                                                 Upload hearing binder documents to Dropbox and create folder to share
                                                 with Green Copy.
                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.3    $218.00            $65.40                                    $0.00                                     0

                                                 Download and save to file docket entry 141, minute order vacating
                                                 6/28/24 motion for summary judgment hearing
                   Murieta
                   Equestrian
  6/24/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to J. Flanders re: reply to motion in limine with have exhibits
                                                 and require tables.
                   Murieta
                   Equestrian
  6/25/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Telephone call to courtroom deputy Shelly Her; left voicemail to request
                                                 scheduling new hearing date for motion in limine, motion to amend and
                   Murieta                       motion for summary judgment.
                   Equestrian
  6/26/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60                                    $0.00                                     0




                                                                                                              Page 72 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                            Page 76 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Download and save to file docket 142, reply in support of motion in
                                                 limine.
                   Murieta
                   Equestrian
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft email to J. Flanders summarizing call with Shelly Her re: new judge
                                                 and contacting the court in August to reschedule vacated hearings for
                   Murieta                       motion for summary judgment, motion to amend, and motion in limine.
                   Equestrian
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Check Judge Barnes daily court calendar to determine when to place
                                                 follow up call to courtroom deputy. Telephone call to courtroom deputy,
                   Murieta                       no answer. Will make further attempts.
                   Equestrian
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Teams comms with T. Brett to check in on status of reply for efiling
                                                 today.
                   Murieta
                   Equestrian
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with Shelly Her re: rescheduling vacated motion
                                                 hearings and new judge being assigned to take over Judge Barnes'
                   Murieta                       department and docket.
                   Equestrian
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Efile reply in support of motion in limine

                   Murieta
                   Equestrian
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Finalize reply in support of motion in limine in preparation from efiling.

                   Murieta
                   Equestrian
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Check Eastern District website to determine identify of judge that
                                                 replaced Magistrate Judge Barnes. Review minute order, docket 141 for
                   Murieta                       information on the person to contact for scheduling. Draft reply email to
                   Equestrian                    D. Hunt re: calling clerk's office for further information.
   8/1/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Draft reply email to D. Hunt re: contacting court to inquire on available
                                                 dates to reschedule motion hearings.
                   Murieta
                   Equestrian
   8/1/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft email to D. Hunt summarizing call with Eastern District court clerk
                                                 re: reassignment of Judge Barnes' cases.
                   Murieta
                   Equestrian
   8/2/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80                                    $0.00                                     0




                                                                                                              Page 73 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                              Page 77 of 83
Date      Client   Matter     Staff              Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Telephone call to Eastern District court clerk re: newly assigned judge to
                                                 Magistrate Barnes' former docket.
                   Murieta
                   Equestrian
   8/2/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save to file docket entry 143, order reassigning case to
                                                 Magistrate Judge Sean Riordon.
                   Murieta
                   Equestrian
   8/6/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft email to D. Hunt re: case reassignment to Magistrate Judge Sean
                                                 C Riordon.
                   Murieta
                   Equestrian
   8/6/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file docket 144, notice to reschedule motion
                                                 hearing. Calendar hearing date.
                   Murieta
                   Equestrian
   8/7/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teleconference with S. Her re: available motion dates.

                   Murieta
                   Equestrian
   8/7/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Efile notice to reschedule hearing.

                   Murieta
                   Equestrian
   8/7/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft email to J. Flanders summarizing call with S. Her re: available
                                                 motion dates and steps to re-notice.
                   Murieta
                   Equestrian
   8/7/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Finalize notice to reschedule motions in preparation for efiling.

                   Murieta
                   Equestrian
   8/7/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Search for example notice to reschedule motions. Draft notice template
                                                 and email to J. Flanders for review.
                   Murieta
                   Equestrian
   8/7/2024 CCKA   Center     Esmeralda Bustos                                                                                        1.2    $218.00           $261.60                                    $0.00                                     0

                                                 Telephone call to S. Her, courtroom deputy. Left voicemail requesting to
                                                 reset motion to amend, motion for summary judgment and motion in
                   Murieta                       limine hearings.
                   Equestrian
   8/7/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                             Page 74 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                              Page 78 of 83
Date      Client   Matter     Staff              Description                                                                   Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft reply email to J. Flanders re: telephone call to S. Her to reschedule
                                                 motion hearings.
                   Murieta
                   Equestrian
   8/7/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft reply email to client re: if payment was received for invoice 009
                                                 dated April 17, 2024.
                   Murieta
                   Equestrian
  8/15/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Call with J. Flanders and T. Brett re: following up with court regarding
                                                 provision of documents requested to be filed under seal.
                   Murieta
                   Equestrian
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Forward email to T. Brett from courtroom deputy re: lodging documents
                                                 related to motion to seal.
                   Murieta
                   Equestrian
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80                                    $0.00                                     0

                                                 purchase USB flash drives to send sealed documents to Eastern District
                                                 of California.
                   Murieta
                   Equestrian
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Teleconference with T. Brett to confirm the appropriate sealed document
                                                 to provide the clerk.
                   Murieta
                   Equestrian
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft email to Ms. Her acknowledging we'll follow up with the clerk's
                                                 office to provide the documents covered by the motion to seal.
                   Murieta
                   Equestrian
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Further telephone call with Eastern District of California clerk re:
                                                 submitting sealed documents via email along with copy of order.
                   Murieta
                   Equestrian
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teams comms with T. Brett re: order at docket no. 126 with footnote
                                                 instructing to submit documents that were sealed.
                   Murieta
                   Equestrian
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Teleconference with Eastern District court clerk re: procedures to submit
                                                 motion to seal documents.
                   Murieta
                   Equestrian
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00           $43.60                                    $0.00                                     0




                                                                                                              Page 75 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                                 Page 79 of 83
Date      Client   Matter     Staff              Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft email to CA Eastern District clerk's office with order granting motion
                                                 to seal and documents to be sealed.
                   Murieta
                   Equestrian
  8/23/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Draft reply email to D. Hunt re: docket entry 146, documents from motion
                                                 to seal.
                   Murieta
                   Equestrian
  8/26/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file docket entry 145, defendants request for
                                                 supplement briefing.
                   Murieta
                   Equestrian
  8/27/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file minute order re: additional briefing. Calendar
                                                 brief deadline and new hearing date for motion for summary judgment.
                   Murieta
                   Equestrian
  8/27/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Locate service email sent 4/5/24 with request for motion to seal and
                                                 forward to J. Flanders.
                   Murieta
                   Equestrian
  8/27/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Begin drafting response to defendant's request for additional briefing and
                                                 proposed order.
                   Murieta
                   Equestrian
  8/27/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.5    $218.00           $109.00                                    $0.00                                     0

                                                 Teams chat with J. Flanders re: creating pleadings for request
                                                 supplemental brief; review email with outline re: same.
                   Murieta
                   Equestrian
  8/27/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Check Judge Riordan's calendar for 9/12/24 to confirm motion to amend
                                                 and motion in limine hearing remain calendared. Draft reply email to J.
                   Murieta                       Flanders re: same. Update calendar events for same.
                   Equestrian
  8/27/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save to file docket entry 148, defendant's motion to
                                                 continue motion for summary judgment hearing.
                   Murieta
                   Equestrian
  8/30/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file docket entry 149, order granting motion to
                                                 continue motion for summary judgment hearing. Calendar new hearing
                   Murieta                       date.
                   Equestrian
  8/30/2024 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                            Page 76 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-7                                                             Page 80 of 83
Date      Client   Matter     Staff              Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Draft email to J. Flanders with draft Loper Bright brief template

                   Murieta
                   Equestrian
  8/30/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Prepare draft supplemental brief template.

                   Murieta
                   Equestrian
  8/30/2024 CCKA   Center     Esmeralda Bustos                                                                                      1.0    $218.00           $218.00                                    $0.00                                     0

                                                 Download and save to file docket entry 150, minute order continuing
                                                 motion to amend and motion in limine hearing to 10/8/24.
                   Murieta
                   Equestrian
   9/3/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Download and save to file docket entry 153, plaintiff's objections to
                                                 defendant's supplemental brief re: Loper Bright.
                   Murieta
                   Equestrian
  9/18/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Draft weekly priorities for this matter including, finalizing and filing
                                                 Evidentiary objections to Defendant's Loper Bright supplemental brief
                   Murieta
                   Equestrian
  9/18/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Efile objections to defendant's supplemental brief.

                   Murieta
                   Equestrian
  9/18/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60                                    $0.00                                     0

                                                 Download and save to file docket entries 151 and 152, supplemental
                                                 briefs re: Loper Bright.
                   Murieta
                   Equestrian
  9/19/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Research local rules for guidance on demonstrative exhibits and
                                                 PowerPoint presentation.
                   Murieta
                   Equestrian
  10/3/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Review Judge Riordan's standing civil order and court's website for
                                                 guidance on demonstrative exhibits and PowerPoint presentation.
                   Murieta
                   Equestrian
  10/3/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                                 Teams comms with J. Flanders re: contact Judge Riordan's courtroom
                                                 deputy to inquire on protocol for PowerPoint/demonstrative exhibits.
                   Murieta
                   Equestrian
  10/3/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0




                                                                                                             Page 77 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                                    Document 189-7                                                       Page 81 of 83
Date      Client   Matter     Staff              Description                                                             Hours         Rate       Total            Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Teams comms with J. Flanders re: equipment needed to use laptop in
                                                 Eastern District of California courtroom for motion hearing
                   Murieta
                   Equestrian
  10/3/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Draft email to J. Flanders re: edits/formatting changes added to
                                                 PowerPoint.
                   Murieta
                   Equestrian
  10/7/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Format and re-design PowerPoint

                   Murieta
                   Equestrian
  10/7/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Further style revisions to PowerPoint; print copy to ensure greyscale
                                                 printing is visible.
                   Murieta
                   Equestrian
  10/7/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.4    $218.00           $87.20                                    $0.00                                     0

                                                 Print copies of PowerPoint presentation for tomorrow's hearing

                   Murieta
                   Equestrian
  10/7/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00           $43.60                                    $0.00                                     0

                                                 Download and save to file ECF docket entry 154, defendants response
                                                 to objections.
                   Murieta
                   Equestrian
  10/8/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Download and save to file native version of proposed order to joint
                                                 statement re: injunctive relief.
                   Murieta
                   Equestrian
  12/5/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Draft joint statement re: injunctive relief template

                   Murieta
                   Equestrian
  12/5/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.3    $218.00           $65.40                                    $0.00                                     0

                                                 Draft reply email to J. Flanders with joint statement template.

                   Murieta
                   Equestrian
  12/5/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80                                    $0.00                                     0

                                                 Efile joint statement and proposed order. Email chambers native word
                                                 version of proposed order.
                   Murieta
                   Equestrian
  12/5/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00           $43.60                                    $0.00                                     0




                                                                                                            Page 78 of 80
                                       Case 2:20-cv-01703-SCR
                                                                                                            EXHIBIT 1 Filed 04/18/25
                                                                                                   Document 189-7                                                           Page 82 of 83
Date      Client   Matter     Staff              Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                 Download and save to file ECF docket entry 165, joint statement re:
                                                 injunctive relief and proposed order.
                   Murieta
                   Equestrian
  12/6/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Telephone call with J. Flanders re: lodging of erroneous proposed order
                                                 at ECF docket 165.
                   Murieta
                   Equestrian
  12/9/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Create redlined version of erroneously filed proposed order and correct
                                                 final version of same.
                   Murieta
                   Equestrian
  12/9/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Download and save to file ECF docket entry 168, joint supplemental
                                                 statement.
                   Murieta
                   Equestrian
 12/12/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Draft email to chambers with native version of final proposed order.

                   Murieta
                   Equestrian
 12/12/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Efile supplemental joint statement re: injunctive relief

                   Murieta
                   Equestrian
 12/12/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                      0

                                                 Finalize supplemental joint statement and accompanying exhibit in
                                                 preparation for efiling.
                   Murieta
                   Equestrian
 12/12/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60                                    $0.00                                      0

                                                 Telephone call with T. Trillo and J. Flanders re: subpoena document
                                                 production.
                   Murieta
                   Equestrian
  3/29/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.3    $218.00            $43.60                                $21.80                                        0.1

                                                 Update table of contents formatting and Wren declaration.

                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Esmeralda Bustos                                                                                     1.3    $218.00           $283.40                                    $0.00                                      0

                                                 Record costs related to bankruptcy attorney consulting services

                   Murieta
                   Equestrian
  8/13/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80                                    $0.00                                      0




                                                                                                             Page 79 of 80
                                 Case 2:20-cv-01703-SCR
                                                            EXHIBIT 1 Filed 04/18/25
                                                          Document 189-7                                       Page 83 of 83
Date   Client   Matter   Staff       Description                      Hours      Rate   Total            Billing Judgment Fee Reduction        Billing Judgment Time Reduction
                                     Totals                              272.4              $57,007.00                             $2,376.20                                     10.9




                                                              Page 80 of 80
